                                                                                                           Case 12-70371                      Doc 1
                                                                                                                                                  Filed 02/23/12 Entered 02/23/12 16:07:42 Desc Main
                                                                                          B1 (Official Form 1) (12/11)                              Document         Page 1 of 66
                                                                                                                                     United States Bankruptcy Court                       Voluntary Petition
                                                                                                                                        Central District of Illinois
                                                                                           Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                            Beard, Ty
                                                                                           All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
                                                                                           (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
                                                                                            None
                                                                                          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                          (if more than one, state all):
                                                                                                                             4587                                           (if more than one, state all):

                                                                                           Street Address of Debtor (No. and Street, City, and State)                                      Street Address of Joint Debtor (No. and Street, City, and State
                                                                                            1550 N 1600 E Road
                                                                                            Taylorville, IL                                                    ZIPCODE                                                                                              ZIPCODE
                                                                                                                                                                     62568
                                                                                           County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:

                                                                                            Christian
                                                                                           Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):
                                                                                            P.O. Box 381
                                                                                            Taylorville, IL
                                                                                                                                                               ZIPCODE                                                                                              ZIPCODE
                                                                                                                                                                     62568
                                                                                           Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                    ZIPCODE

                                                                                                         Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
                                                                                                     (Form of Organization)                                   (Check one box)                                                 the Petition is Filed (Check one box)
                                                                                                         (Check one box)                                          Health Care Business                              Chapter 7
                                                                                               Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in                                       Chapter 15 Petition for
                                                                                               See Exhibit D on page 2 of this form.                              11 U.S.C. § 101 (51B)                             Chapter 9                  Recognition of a Foreign
                                                                                               Corporation (includes LLC and LLP)                                 Railroad                                                                     Main Proceeding
                                                                                               Partnership                                                        Stockbroker                                       Chapter 11
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                                                                                               Other (If debtor is not one of the above entities,                 Commodity Broker                                  Chapter 12                 Chapter 15 Petition for
                                                                                               check this box and state type of entity below.)                    Clearing Bank                                                                Recognition of a Foreign
                                                                                                                                                                                                                    Chapter 13
                                                                                                                                                                 Retail
                                                                                                                                                                  Other                                                                        Nonmain Proceeding
                                                                                                             Chapter 15 Debtors                                           Tax-Exempt Entity                                           Nature of Debts
                                                                                                                                                                        (Check box, if applicable)                                    (Check one box)
                                                                                           Country of debtor’s center of main interests:                                                                            Debts are primarily consumer
                                                                                                                                                                                                                                                            Debts are
                                                                                                                                                                      Debtor is a tax-exempt organization           debts, defined in 11 U.S.C.
                                                                                                                                                                                                                                                            primarily
                                                                                           Each country in which a foreign proceeding by,                             under Title 26 of the United States           §101(8) as "incurred by an
                                                                                                                                                                                                                                                            business debts.
                                                                                           regarding, or against debtor is pending:                                   Code (the Internal Revenue Code)              individual primarily for a
                                                                                                                                                                                                                    personal, family, or
                                                                                                                                                                                                                    household purpose."
                                                                                                                       Filing Fee (Check one box)                                                                           Chapter 11 Debtors
                                                                                                                                                                                                   Check one box:
                                                                                                  Full Filing Fee attached                                                                                Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                          Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                  Filing Fee to be paid in installments (applicable to individuals only) Must attach                 Check if:
                                                                                                  signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                  to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                 insiders or affiliates) are less than $2,343,300 (amount subject to adjustment on
                                                                                                                                                                                                         4/01/13 and every three years thereafter).
                                                                                                                                                                                                     Check all applicable boxes
                                                                                                  Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                         A plan is being filed with this petition.
                                                                                                  attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                         Acceptances of the plan were solicited prepetition from one or more
                                                                                                                                                                                                         classes of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                                            Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                    COURT USE ONLY
                                                                                              Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                              Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                              distribution to unsecured creditors.
                                                                                          Estimated Number of Creditors

                                                                                           1-49           50-99           100-199           200-999         1,000-           5,001-           10,001-            25,001-         50,001-          Over
                                                                                                                                                            5,000            10,000           25,000             50,000          100,000          100,000
                                                                                          Estimated Assets

                                                                                          $0 to          $50,001 to      $100,001 to       $500,001      $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                          $50,000        $100,000        $500,000          to $1         to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                           million       million          million          million            million
                                                                                          Estimated Liabilities

                                                                                          $0 to          $50,001 to      $100,001 to        $500,001     $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                          $50,000        $100,000        $500,000           to $1        to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                            million      million          million          million            million
                                                                                          B1 (OfficialCase
                                                                                                      Form 1) (12/11)
                                                                                                           12-70371                      Doc 1          Filed 02/23/12 Entered 02/23/12 16:07:42                                            Desc Main                Page 2
                                                                                          Voluntary Petition                                              Document     Page
                                                                                                                                                                        Name 2
                                                                                                                                                                             of of 66
                                                                                                                                                                                Debtor(s):
                                                                                          (This page must be completed and filed in every case)                         Ty Beard
                                                                                                                   All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                          Location                                                                              Case Number:                                       Date Filed:
                                                                                          Where Filed:           NONE
                                                                                           Location                                                                             Case Number:                                       Date Filed:
                                                                                           Where Filed:
                                                                                                                 N.A.
                                                                                                     Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                           Name of Debtor: NONE                                                    Case Number:                                   Date Filed:


                                                                                           District:                                                                             Relationship:                                     Judge:


                                                                                                                          Exhibit A                                                                                      Exhibit B
                                                                                                                                                                                                          (To be completed if debtor is an individual
                                                                                          (To be completed if debtor is required to file periodic reports (e.g., forms                                    whose debts are primarily consumer debts)
                                                                                          10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                          Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting            I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                          relief under chapter 11)                                                                have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                                                                                                  12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                                                                                                  available under each such chapter. I further certify that I delivered to the
                                                                                                                                                                                  debtor the notice required by 11 U.S.C. § 342(b).

                                                                                                   Exhibit A is attached and made a part of this petition.                        X
                                                                                                                                                                                        Signature of Attorney for Debtor(s)                         Date


                                                                                                                                                                        Exhibit C
                                                                                          Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                   Yes, and Exhibit C is attached and made a part of this petition.

                                                                                                   No.
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                                                                                                                                                                         Exhibit D
                                                                                            (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                           If this is a joint petition:
                                                                                                       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                      Information Regarding the Debtor - Venue
                                                                                                                                                                   (Check any applicable box)
                                                                                                                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                                                                   preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District, or
                                                                                                                   has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state court] in
                                                                                                                   this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                    (Check all applicable boxes)
                                                                                                                   Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                   (Name of landlord that obtained judgment)


                                                                                                                                                                    (Address of landlord)
                                                                                                                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                   entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                                                                   filing of the petition.
                                                                                                                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
                                                                                                          Case 12-70371                Doc 1         Filed 02/23/12 Entered 02/23/12 16:07:42                                              Desc Main
                                                                                          B1 (Official Form 1) (12/11)                                 Document     Page 3 of 66                                                                                          Page 3
                                                                                          Voluntary Petition                                                                     Name of Debtor(s):
                                                                                          (This page must be completed and filed in every case)                                   Ty Beard
                                                                                                                                                                         Signatures
                                                                                                      Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
                                                                                            I declare under penalty of perjury that the information provided in this petition
                                                                                            is true and correct.
                                                                                            [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                            has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                            chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                            available under each such chapter, and choose to proceed under chapter 7.
                                                                                            [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                            petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                            I request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                            I request relief in accordance with the chapter of title 11, United States                      Certified copies of the documents required by 11 U.S.C. § 1515 of title 11 are
                                                                                            Code, specified in this petition.                                                               attached.

                                                                                                                                                                                            Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                            title 11 specified in this petition.  A certified copy of the order granting
                                                                                                                                                                                            recognition of the foreign main proceeding is attached.
                                                                                            X /s/ Ty Beard
                                                                                                Signature of Debtor                                                                X
                                                                                                                                                                                       (Signature of Foreign Representative)
                                                                                            X
                                                                                                Signature of Joint Debtor

                                                                                                                                                                                        (Printed Name of Foreign Representative)
                                                                                                 Telephone Number (If not represented by attorney)

                                                                                                 February 23, 2012                                                                       (Date)
                                                                                                 Date

                                                                                                                 Signature of Attorney*                                                     Signature of Non-Attorney Petition Preparer
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                                                                                           X
                                                                                                   /s/ Kevin Linder
                                                                                                Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer
                                                                                                                                                                                  as defined in 11 U.S.C. § 110, (2) I prepared this document for compensation,
                                                                                                KEVIN LINDER                                                                      and have provided the debtor with a copy of this document and the notices and
                                                                                                Printed Name of Attorney for Debtor(s)
                                                                                                                                                                                  information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and, (3) if
                                                                                                                                                                                  rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                                                                                                Linder Law Office                                                                 setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                1300 S. 8th Street                                                                document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                Address                                                                           required in that section. Official Form 19 is attached.

                                                                                                Springfield, IL 62703
                                                                                                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                217-793-6477
                                                                                               Telephone Number
                                                                                                                                                                                  Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                February 23, 2012                                                                 state the Social Security number of the officer, principal, responsible person or
                                                                                              Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                           *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                           certification that the attorney has no knowledge after an inquiry that the
                                                                                           information in the schedules is incorrect.                                              Address

                                                                                                   Signature of Debtor (Corporation/Partnership)
                                                                                             I declare under penalty of perjury that the information provided in this petition
                                                                                             is true and correct, and that I have been authorized to file this petition on       X
                                                                                             behalf of the debtor.

                                                                                             The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                             United States Code, specified in this petition.
                                                                                                                                                                                     Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                     person, or partner whose Social Security number is provided above.
                                                                                           X
                                                                                                Signature of Authorized Individual                                                   Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                     not an individual:
                                                                                                Printed Name of Authorized Individual
                                                                                                                                                                                     If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                     conforming to the appropriate official form for each person.
                                                                                                Title of Authorized Individual
                                                                                                                                                                                     A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                     and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                               Date                                                                                  imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                  Case 12-70371                Doc 1   Filed 02/23/12 Entered 02/23/12 16:07:42         Desc Main
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                                                                                          B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                              UNITED STATES BANKRUPTCY COURT
                                                                                                                                          Central District of Illinois




                                                                                                Ty Beard
                                                                                          In re______________________________________                                    Case No._____________
                                                                                                        Debtor(s)                                                              (if known)


                                                                                                     EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                     CREDIT COUNSELING REQUIREMENT

                                                                                                  Warning: You must be able to check truthfully one of the five statements regarding
                                                                                          credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                          case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                          filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                          you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                          required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                          collection activities.

                                                                                                 Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
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                                                                                          must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                          any documents as directed.

                                                                                                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                          performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                          services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                          developed through the agency.

                                                                                                  2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                          performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                          the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                          services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                          no later than 14 days after your bankruptcy case is filed.
                                                                                                  Case 12-70371               Doc 1        Filed 02/23/12 Entered 02/23/12 16:07:42   Desc Main
                                                                                          B1 D (Official Form 1, Exh. D) (12/09) – Cont.
                                                                                                                                             Document     Page 5 of 66                  Page 2


                                                                                                  3. I certify that I requested credit counseling services from an approved agency but
                                                                                          was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                          following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                          so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                 If your certification is satisfactory to the court, you must still obtain the credit
                                                                                          counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                          promptly file a certificate from the agency that provided the counseling, together with a
                                                                                          copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                          requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                          can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                          be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                          without first receiving a credit counseling briefing.

                                                                                                 4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                          applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                         Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                 illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                 decisions with respect to financial responsibilities.);
                                                                                                         Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
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                                                                                                 extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                 briefing in person, by telephone, or through the Internet.);
                                                                                                         Active military duty in a military combat zone.

                                                                                                 5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                          counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                 I certify under penalty of perjury that the information provided above is true and
                                                                                          correct.



                                                                                                                       Signature of Debtor:               /s/ Ty Beard
                                                                                                                                                         TY BEARD

                                                                                                                                                     February 23, 2012
                                                                                                                                            Date: _________________
                                                                                                    Case
                                                                                              B7 (Official    12-70371
                                                                                                           Form 7) (04/10)       Doc 1Filed 02/23/12 Entered 02/23/12 16:07:42                                       Desc Main
                                                                                                                                        DocumentBANKRUPTCY
                                                                                                                                UNITED STATES          Page 6 of 66 COURT
                                                                                                                                          Central District of Illinois

                                                                                          In Re   Ty Beard                                                                                        Case No.
                                                                                                                                                                                                                   (if known)


                                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS

                                                                                                             This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                   the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                   information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                   filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                   provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                   indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                   or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                   R. Bankr. P. 1007(m).

                                                                                                             Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                   must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                                                   additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
                                                                                                   case number (if known), and the number of the question.

                                                                                                                                                               DEFINITIONS

                                                                                                              "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                   individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                                   the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                   the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                                   employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                                   in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.
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                                                                                                              "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                   their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                                                   percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
                                                                                                   such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                                                             1. Income from employment or operation of business

                                                                                                             State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                             the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                  None       beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                             two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                             the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                             of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                             spouses are separated and a joint petition is not filed.)

                                                                                                                     AMOUNT                                                 SOURCE

                                                                                                      2012               0.00                                                                    FY: 01/2012 to 02/2012
                                                                                                      2011        97,500.16        Employment - Allied Municiapl Supply                          FY: 01/2011 to 09/02/2011
                                                                                                      2010      136,916.00         Employment - Allied Municipal Supply                          FY: 01/2010 to 12/2010
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                                                                                                     2.   Income other than from employment or operation of business

                                                                                          None              State the amount of income received by the debtor other than from employment, trade, profession, or
                                                                                                     operation of the debtor's business during the two years immediately preceding the commencement of this case.
                                                                                                     Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                     under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                                                     the spouses are separated and a joint petition is not filed.)

                                                                                                      AMOUNT                                                                SOURCE

                                                                                              2011              4,656.00              Unemployment




                                                                                                     3. Payments to creditors
                                                                                          None
                                                                                                     Complete a. or b., as appropriate, and c.
                                                                                                     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases
                                                                                                     of goods or services, and other debts to any creditor made within 90 days immediately preceding the
                                                                                                     commencement of this case unless the aggregate value of all property that constitutes or is affected by such
                                                                                                     transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                                                     a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
                                                                                                     nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13
                                                                                                     must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                     separated and a joint petition is not filed.)
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                                                                                          NAME AND ADDRESS OF CREDITOR                                    DATES OF                             AMOUNT               AMOUNT STILL
                                                                                                                                                          PAYMENTS                              PAID                   OWING




                                                                                          None
                                                                                                     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor
                                                                                                     made within 90 days immediately preceding the commencement of the case unless the aggregate value of all
                                                                                                     property that constitutes or is affected by such transfer is less than $5,850*. If the debtor is an individual,
                                                                                                     indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                                                     obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and
                                                                                                     credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and
                                                                                                     other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                     and a joint petition is not filed.)
                                                                                          *Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after date of adjustment.
                                                                                          NAME AND ADDRESS OF CREDITOR                                    DATES OF                             AMOUNT               AMOUNT STILL
                                                                                           AND RELATIONSHIP TO DEBTOR                                     PAYMENTS                              PAID                   OWING
                                                                                             Case 12-70371           Doc 1        Filed 02/23/12 Entered 02/23/12 16:07:42                            Desc Main
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                                                                                          None
                                                                                                 c. All debtors: List all payments made within one year immediately preceding the commencement of this case
                                                                                                 to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13
                                                                                                 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                 separated and a joint petition is not filed.)


                                                                                          NAME AND ADDRESS OF CREDITOR                           DATES OF                     AMOUNT PAID           AMOUNT STILL
                                                                                           AND RELATIONSHIP TO DEBTOR                            PAYMENTS                                              OWING


                                                                                                 4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                          None   a.      List all suits and administrative proceedings to which the debtor is or was a party within one year
                                                                                                 immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                 must include information concerning either or both spouses whether or not a joint petition is filed, unless the
                                                                                                 spouses are separated and a joint petition is not filed.)


                                                                                           CAPTION OF SUIT             NATURE OF PROCEEDING                         COURT OR                              STATUS OR
                                                                                          AND CASE NUMBER                                                      AGENCY AND LOCATION                        DISPOSITION


                                                                                          US Standard Sign           Contract                                     Christian County                    Judgment
                                                                                          Co v. Allied                                                                                                entered
                                                                                          Municipal Supply
                                                                                          2011 L 18
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                                                                                          Dynagraphics, Inc.         Contract                                     Christian County                    Judgment
                                                                                          v. Allied Municipal
                                                                                          Supply
                                                                                          11 SC 1551

                                                                                          Gregory Shoop v.           Contract                                     Christian County                    Judgment
                                                                                          Allied Municipal                                                                                            entered
                                                                                          Supply
                                                                                          11 LM 70

                                                                                          US Bank v. Allied          Contract                                     Sangamon County                     Recently served
                                                                                          Municipal Supply
                                                                                          2012 CH 0118
                                                                                             Case 12-70371              Doc 1        Filed 02/23/12 Entered 02/23/12 16:07:42                           Desc Main
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                                                                                          None     b.      Describe all property that has been attached, garnished or seized under any legal or equitable process
                                                                                                   within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
                                                                                                   12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint
                                                                                                   petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                             NAME AND ADDRESS OF                                      DATE OF                                    DESCRIPTION AND
                                                                                           PERSON FOR WHOSE BENEFIT                                   SEIZURE                                   VALUE OF PROPERTY
                                                                                             PROPERTY WAS SEIZED


                                                                                                   5.   Repossessions, foreclosures and returns

                                                                                          None            List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a
                                                                                                   deed in lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement
                                                                                                   of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                                                   property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                   joint petition is not filed.)


                                                                                              NAME AND                                 DATE OF REPOSESSION,                                      DESCRIPTION AND
                                                                                             ADDRESS OF                                 FORECLOSURE SALE,                                       VALUE OF PROPERTY
                                                                                          CREDITOR OR SELLER                           TRANSFER OR RETURN


                                                                                                   6. Assignments and Receiverships

                                                                                          None     a.      Describe any assignment of property for the benefit of creditors made within 120 days immediately
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                                                                                                   preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                   any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                   and a joint petition is not filed.)


                                                                                                  NAME AND                                    DATE OF ASSIGNMENT                              TERMS OF
                                                                                                   ADDRESS                                                                                   ASSIGNMENT
                                                                                                 OF ASSIGNEE                                                                                OR SETTLEMENT


                                                                                          None     b.      List all property which has been in the hands of a custodian, receiver, or court-appointed official within
                                                                                                   one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                   chapter 13 must include information concerning property of either or both spouses whether or not a joint petition
                                                                                                   is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                  NAME AND                          NAME AND LOCATION                         DATE OF               DESCRIPTION AND
                                                                                                   ADDRESS                          OF COURT CASE TITLE                        ORDER               VALUE OF PROPERTY
                                                                                                 OF CUSTODIAN                            & NUMBER
                                                                                             Case 12-70371           Doc 1        Filed 02/23/12 Entered 02/23/12 16:07:42                          Desc Main
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                                                                                                 7.   Gifts

                                                                                          None         List all gifts or charitable contributions made within one year immediately preceding the commencement of
                                                                                                 this case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual
                                                                                                 family member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing
                                                                                                 under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
                                                                                                 joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                 NAME AND                         RELATIONSHIP                      DATE OF                 DESCRIPTION AND
                                                                                                ADDRESS OF                      TO DEBTOR, IF ANY                     GIFT                   VALUE OF GIFT
                                                                                          PERSON OR ORGANIZATION


                                                                                                 8.   Losses

                                                                                          None          List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                 commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12
                                                                                                 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
                                                                                                 spouses are separated and a joint petition is not filed.)


                                                                                             DESCRIPTION                         DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                          DATE OF
                                                                                             AND VALUE                              WAS COVERED IN WHOLE OR IN PART BY                                LOSS
                                                                                             OF PROPERTY                                INSURANCE, GIVE PARTICULARS


                                                                                                 9.   Payments related to debt counseling or bankruptcy
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                                                                                          None           List all payments made or property transferred by or on behalf of the debtor to any persons, including
                                                                                                 attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a
                                                                                                 petition in bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                  NAME AND ADDRESS                        DATE OF PAYMENT,                          AMOUNT OF MONEY OR
                                                                                                      OF PAYEE                            NAME OF PAYOR IF                            DESCRIPTION AND
                                                                                                                                         OTHER THAN DEBTOR                           VALUE OF PROPERTY

                                                                                          Kevin Linder                             12/08/2011                                  $684.00
                                                                                          1300 South 8th Street                    Payor: Same
                                                                                          Springfield, IL 62703
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                                                                                                    10. Other transfers

                                                                                          None      a.     List all other property, other than property transferred in the ordinary course of the business or financial
                                                                                                    affairs of the debtor, transferred either absolutely or as security within two years immediately preceding the
                                                                                                    commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
                                                                                                    either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
                                                                                                    is not filed.)


                                                                                            NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                                RELATIONSHIP TO DEBTOR                                                                          TRANSFERRED AND
                                                                                                                                                                                                 VALUE RECEIVED

                                                                                            Unknown                                                     October 2011                    2007 Arctic Snowmobile
                                                                                            Relationship: None                                                                          $3,100.00; $2,900 paid loan off
                                                                                                                                                                                        to US Bank

                                                                                                    b. List all property transferred by the debtor within ten years immediately preceding the commencement of this
                                                                                                    case to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                          None

                                                                                                 NAME OF TRUST OR OTHER DEVICE                              DATE(S) OF                        AMOUNT OF MONEY OR
                                                                                                                                                           TRANSFER(S)                          DESCRIPTION AND
                                                                                                                                                                                               VALUE OF PROPERTY
                                                                                                                                                                                              OR DEBTOR'S INTEREST
                                                                                                                                                                                                  IN PROPERTY
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                                                                                                    11. Closed financial accounts

                                                                                          None             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor
                                                                                                    which were closed, sold, or otherwise transferred within one year immediately preceding the commencement of
                                                                                                    this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments;
                                                                                                    shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage
                                                                                                    houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                    information concerning accounts or instruments held by either or both spouses whether or not a joint petition is
                                                                                                    filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                   NAME AND                           TYPE OF ACCOUNT, LAST FOUR                                       AMOUNT AND
                                                                                                    ADDRESS                           DIGITS OF ACCOUNT NUMBER,                                        DATE OF SALE
                                                                                                 OF INSTITUTION                      AND AMOUNT OF FINAL BALANCE                                        OR CLOSING
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                                                                                                    12. Safe deposit boxes

                                                                                          None             List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                    valuables within one year immediately preceding the commencement of this case.                (Married debtors filing
                                                                                                    under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
                                                                                                    joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                      NAME AND                     NAMES AND ADDRESSES OF                   DESCRIPTION OF              DATE OF
                                                                                                   ADDRESS OF BANK                THOSE WITH ACCESS TO BOX                    CONTENTS                TRANSFER OR
                                                                                                 OR OTHER DEPOSITORY                   OR DEPOSITORY                                                SURRENDER, IF ANY


                                                                                                    13. Setoffs

                                                                                          None             List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90
                                                                                                    days preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                    include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses
                                                                                                    are separated and a joint petition is not filed.)


                                                                                                 NAME AND ADDRESS OF CREDITOR                                 DATE                                 AMOUNT
                                                                                                                                                               OF                                     OF
                                                                                                                                                             SETOFF                                 SETOFF

                                                                                                    14. Property held for another person

                                                                                          None           List all property owned by another person that the debtor holds or controls.
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                                                                                                     NAME AND                               DESCRIPTION AND                             LOCATION OF PROPERTY
                                                                                                  ADDRESS OF OWNER                         VALUE OF PROPERTY


                                                                                                    15. Prior address of debtor
                                                                                          None
                                                                                                           If the debtor has moved within the three years immediately preceding the commencement of this case, list
                                                                                                    all premises which the debtor occupied during that period and vacated prior to the commencement of this case.
                                                                                                    If a joint petition is filed, report also any separate address of either spouse.


                                                                                                  ADDRESS                                          NAME USED                                   DATES OF OCCUPANCY
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                                                                                                  16. Spouses and Former Spouses
                                                                                          None
                                                                                                     If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                  Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
                                                                                                  within eight years immediately preceding the commencement of the case, identify the name of the debtor’s
                                                                                                  spouse and of any former spouse who resides or resided with the debtor in the community property state.


                                                                                                              NAME


                                                                                                  17. Environmental Sites

                                                                                                  For the purpose of this question, the following definitions apply:

                                                                                                  "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                  releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater,
                                                                                                  or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                  wastes, or material.

                                                                                                            "Site" means any location, facility, or property as defined under any Environmental Law, whether or
                                                                                                            not presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                            "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic
                                                                                                            substance, hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                          None
                                                                                                  a.       List the name and address of every site for which the debtor has received notice in writing by a
                                                                                                  governmental unit that it may be liable or potentially liable under or in violation of an Environmental Law.
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                                                                                                  Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                  SITE NAME                      NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                 AND ADDRESS                   OF GOVERNMENTAL UNIT                        NOTICE                      LAW


                                                                                                  b.     List the name and address of every site for which the debtor provided notice to a governmental unit of a
                                                                                                  release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                          None

                                                                                                  SITE NAME                      NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                 AND ADDRESS                   OF GOVERNMENTAL UNIT                        NOTICE                      LAW


                                                                                                  c.      List all judicial or administrative proceedings, including settlements or orders, under any Environmental
                                                                                                  Law with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit
                                                                                          None    that is or was a party to the proceeding, and the docket number.


                                                                                                   NAME AND ADDRESS                             DOCKET NUMBER                            STATUS OR DISPOSITION
                                                                                                 OF GOVERNMENTAL UNIT
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                                                                                                            18. Nature, location and name of business

                                                                                                 None       a.     If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                            businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director,
                                                                                                            partner, or managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a
                                                                                                            trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                                                            commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
                                                                                                            within the six years immediately preceding the commencement of this case.

                                                                                                            If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                                                                                                            and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more
                                                                                                            of the voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                            If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                            businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                                                                                                            percent or more of the voting or equity securities within the six years immediately preceding the commencement
                                                                                                            of this case.

                                                                                                   NAME              LAST FOUR DIGITS OF                     ADDRESS                      NATURE OF BUSINESS BEGINNING AND
                                                                                                                     SOCIAL-SECURITY OR                                                                      ENDING DATES
                                                                                                                      OTHER INDIVIDUAL
                                                                                                                       TAXPAYER-I.D. NO.
                                                                                                                     (ITIN)/ COMPLETE EIN
                                                                                                 Allied Municipal               XX-XXXXXXX                P.O. Box 55                           Retail                        01/01/2002 -
                                                                                                 Supply, LLC                                              Taylorville, IL 62568                                               2011

                                                                                                            b.    Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined
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                                                                                                            in 11 U.S.C. § 101.
                                                                                                 None

                                                                                                            NAME                                                                                      ADDRESS




                                                                                                                         [Questions 19 - 25 are not applicable to this case]
                                                                                                                                                 *    *    *    *    *    *


                                                                                                 [If completed by an individual or individual and spouse]

                                                                                                 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
                                                                                                 attachments thereto and that they are true and correct.

                                                                                          Date   February 23, 2012                                        Signature               /s/ Ty Beard
                                                                                                                                                          of Debtor               TY BEARD
                                                                                                            Case 12-70371                      Doc 1            Filed 02/23/12 Entered 02/23/12 16:07:42                                                   Desc Main
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                                                                                                                                                                  0 continuation sheets attached
                                                                                                                                                                _____


                                                                                                              Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                 DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                              I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                          compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b);
                                                                                          (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition
                                                                                          preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
                                                                                          debtor, as required in that section.




                                                                                          Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                          If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                          partner who signs this document.
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                                                                                          Address

                                                                                          X
                                                                                          Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                          Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                          not an individual:

                                                                                          If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                          A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                          or imprisonment or both. 18 U.S.C. §156.
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                                                                                                B6 Summary (Official Form 6 - Summary) (12/07)




                                                                                                                                      United States Bankruptcy Court
                                                                                                                                                 Central District of Illinois
                                                                                                            Ty Beard
                                                                                               In re                                                                                        Case No.
                                                                                                                                                Debtor
                                                                                                                                                                                            Chapter        7

                                                                                                                                               SUMMARY OF SCHEDULES
                                                                                          Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                          I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                          claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                          Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                     AMOUNTS SCHEDULED
                                                                                                                                         ATTACHED
                                                                                            NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER
                                                                                            A – Real Property
                                                                                                                                         YES                     1            $
                                                                                                                                                                                  300,000.00

                                                                                            B – Personal Property
                                                                                                                                         YES                     3            $
                                                                                                                                                                                   20,584.00
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                                                                                            C – Property Claimed
                                                                                                as exempt                                YES                     1

                                                                                            D – Creditors Holding
                                                                                               Secured Claims                            YES                     1                                  $    273,788.00

                                                                                            E - Creditors Holding Unsecured
                                                                                                Priority Claims                          YES                     3                                  $          630.31
                                                                                               (Total of Claims on Schedule E)
                                                                                            F - Creditors Holding Unsecured
                                                                                                Nonpriority Claims                       YES                     21                                 $1,897,321.97


                                                                                            G - Executory Contracts and
                                                                                                Unexpired Leases                         YES                     1

                                                                                            H - Codebtors
                                                                                                                                         YES                     1

                                                                                            I - Current Income of
                                                                                                Individual Debtor(s)                     YES                     1                                                        $    1,430.00

                                                                                            J - Current Expenditures of Individual
                                                                                                Debtors(s)                               YES                     1                                                        $    2,169.37

                                                                                                                                 TOTAL                           34           $   320,584.00        $2,171,740.28
                                                                                            Official Form12-70371
                                                                                                  Case    6 - Statistical Summary
                                                                                                                          Doc 1 (12/07)
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                                                                                                                                United States Bankruptcy Court
                                                                                                                                                   Central District of Illinois

                                                                                                       In re       Ty Beard                                                          Case No.
                                                                                                                                                 Debtor
                                                                                                                                                                                     Chapter         7
                                                                                          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                               If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                          §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                          information here.

                                                                                          This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                          Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                                             Type of Liability                                                           Amount

                                                                                             Domestic Support Obligations (from Schedule E)                             $
                                                                                                                                                                             N.A.
                                                                                             Taxes and Certain Other Debts Owed to Governmental Units (from             $
                                                                                             Schedule E)
                                                                                                                                                                             N.A.
                                                                                             Claims for Death or Personal Injury While Debtor Was Intoxicated (from     $
                                                                                             Schedule E) (whether disputed or undisputed)
                                                                                                                                                                             N.A.
                                                                                             Student Loan Obligations (from Schedule F)                                 $
                                                                                                                                                                             N.A.
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                                                                                             Domestic Support, Separation Agreement, and Divorce Decree                 $
                                                                                             Obligations Not Reported on Schedule E                                          N.A.
                                                                                             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
                                                                                             (from Schedule F)
                                                                                                                                                                        $
                                                                                                                                                                             N.A.
                                                                                                                                                              TOTAL     $    N.A.

                                                                                            State the Following:
                                                                                             Average Income (from Schedule I, Line 16)                                  $    N.A.
                                                                                             Average Expenses (from Schedule J, Line 18)                                $
                                                                                                                                                                             N.A.
                                                                                             Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                             22B Line 11; OR, Form 22C Line 20 )                                        $
                                                                                                                                                                             N.A.


                                                                                            State the Following:
                                                                                             1. Total from Schedule D, “UNSECURED PORTION, IF
                                                                                             ANY” column
                                                                                                                                                                                      $   N.A.

                                                                                             2. Total from Schedule E, “AMOUNT ENTITLED TO
                                                                                             PRIORITY” column.
                                                                                                                                                                        $    N.A.

                                                                                             3. Total from Schedule E, “AMOUNT NOT ENTITLED TO
                                                                                             PRIORITY, IF ANY” column
                                                                                                                                                                                      $   N.A.

                                                                                             4. Total from Schedule F                                                                 $   N.A.
                                                                                             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                             $   N.A.
                                                                                                         Case
                                                                                          B6A (Official Form 6A)12-70371
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                                                                                          In re    Ty Beard                                                                              Case No.
                                                                                                                     Debtor                                                                                                     (If known)

                                                                                                                                          SCHEDULE A - REAL PROPERTY
                                                                                             Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                          tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                          the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                          “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                          “Description and Location of Property.”

                                                                                            Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                          Unexpired Leases.

                                                                                              If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                          claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                             If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                          Property Claimed as Exempt.




                                                                                                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                                                                                  OR COMMUNITY
                                                                                                                                                                                                                         CURRENT VALUE
                                                                                                                                                                                                                           OF DEBTOR’S
                                                                                                        DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                           INTEREST IN       AMOUNT OF
                                                                                                               OF PROPERTY                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT      SECURED
                                                                                                                                                                                                                         DEDUCTING ANY         CLAIM
                                                                                                                                                                                                                         SECURED CLAIM
                                                                                                                                                                                                                          OR EXEMPTION



                                                                                           5 bedroom, 4 bathroom approx 3600 sq                          Fee Simple                                                          300,000.00       269,173.00
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                                                                                           ft
                                                                                           1550 N 1600 E Rd
                                                                                           Taylorville, IL 62568




                                                                                                                                                                                        Total                                300,000.00
                                                                                                                                                                                        (Report also on Summary of Schedules.)
                                                                                                         Case
                                                                                          B6B (Official Form 6B)12-70371
                                                                                                                 (12/07)                         Doc 1     Filed 02/23/12 Entered 02/23/12 16:07:42                          Desc Main
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                                                                                          In re      Ty Beard                                                                            Case No.
                                                                                                                            Debtor                                                                             (If known)

                                                                                                                                              SCHEDULE B - PERSONAL PROPERTY
                                                                                               Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                          place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                          identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                          community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                          individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                              Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                          Unexpired Leases.

                                                                                                If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                          If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                          "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                            CURRENT VALUE OF




                                                                                                                                                                                                                       OR COMMUNITY
                                                                                                                                                                                                                                            DEBTOR’S INTEREST
                                                                                                                                                  N                                                                                            IN PROPERTY,
                                                                                                       TYPE OF PROPERTY                           O                   DESCRIPTION AND LOCATION                                                   WITHOUT
                                                                                                                                                  N                         OF PROPERTY                                                      DEDUCTING ANY
                                                                                                                                                  E                                                                                          SECURED CLAIM
                                                                                                                                                                                                                                              OR EXEMPTION


                                                                                            1.    Cash on hand.                                   X
                                                                                            2. Checking, savings or other financial
                                                                                            accounts, certificates of deposit, or shares in
                                                                                                                                                         Checking Account                                                                           450.00
                                                                                            banks, savings and loan, thrift, building and
                                                                                            loan, and homestead associations, or credit
                                                                                                                                                         Regions Bank
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                                                                                            unions, brokerage houses, or cooperatives.


                                                                                            3. Security deposits with public utilities,           X
                                                                                            telephone companies, landlords, and others.

                                                                                            4. Household goods and furnishings, including
                                                                                            audio, video, and computer equipment.
                                                                                                                                                         Household Goods                                                                            900.00
                                                                                                                                                         tv, refrigerator, loveseat, chair, end table,
                                                                                                                                                         lamps, kitchen table and chairs, king bed,
                                                                                                                                                         dresser, laptop.

                                                                                            5. Books. Pictures and other art objects,             X
                                                                                            antiques, stamp, coin, record, tape, compact disc,
                                                                                            and other collections or collectibles.

                                                                                            6.    Wearing apparel.
                                                                                                                                                         Clothing                                                                                   200.00
                                                                                            7.    Furs and jewelry.                               X
                                                                                            8. Firearms and sports, photographic, and             X
                                                                                            other hobby equipment.

                                                                                            9. Interests in insurance policies. Name
                                                                                            insurance company of each policy and itemize
                                                                                                                                                         Life Insurance                                                                             909.00
                                                                                            surrender or refund value of each.                           Universal Life through Conneticut General

                                                                                                                                                         Life Insurance                                                                           7,100.00
                                                                                                                                                         Whole Life through American Family
                                                                                                         Case
                                                                                          B6B (Official Form 6B)12-70371
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                                                                                          In re     Ty Beard                                                                         Case No.
                                                                                                                            Debtor                                                              (If known)

                                                                                                                                               SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                                                                      HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                             CURRENT VALUE OF




                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                             DEBTOR’S INTEREST
                                                                                                                                                    N                                                                           IN PROPERTY,
                                                                                                      TYPE OF PROPERTY                              O              DESCRIPTION AND LOCATION                                       WITHOUT
                                                                                                                                                    N                    OF PROPERTY                                          DEDUCTING ANY
                                                                                                                                                    E                                                                         SECURED CLAIM
                                                                                                                                                                                                                               OR EXEMPTION


                                                                                            10. Annuities. Itemize and name each issuer.            X
                                                                                            11. Interests in an education IRA as defined in         X
                                                                                            26 U.S.C. § 530(b)(1) or under a qualified State
                                                                                            tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                            Give particulars. (File separately the record(s) of
                                                                                            any such interest(s). 11 U.S.C. § 521(c).)

                                                                                            12. Interests in IRA, ERISA, Keogh, or other            X
                                                                                            pension or profit sharing plans. Give particulars.

                                                                                            13. Stock and interests in incorporated and             X
                                                                                            unincorporated businesses. Itemize.

                                                                                            14. Interests in partnerships or joint ventures.        X
                                                                                            Itemize.

                                                                                            15. Government and corporate bonds and other            X
                                                                                            negotiable and non-negotiable instruments.
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                                                                                            16. Accounts receivable.                                X
                                                                                            17. Alimony, maintenance, support, and                  X
                                                                                            property settlement to which the debtor is or
                                                                                            may be entitled. Give particulars.

                                                                                            18. Other liquidated debts owing debtor                 X
                                                                                            including tax refunds. Give particulars.

                                                                                            19. Equitable or future interests, life estates, and    X
                                                                                            rights or powers exercisable for the benefit of
                                                                                            the debtor other than those listed in Schedule A -
                                                                                            Real Property.

                                                                                            20. Contingent and noncontingent interests in           X
                                                                                            estate or a decedent, death benefit plan, life
                                                                                            insurance policy, or trust.

                                                                                            21. Other contingent and unliquidated claims of         X
                                                                                            every nature, including tax refunds,
                                                                                            counterclaims of the debtor, and rights of setoff
                                                                                            claims. Give estimated value of each.

                                                                                            22. Patents, copyrights, and other intellectual         X
                                                                                            property. Give particulars.

                                                                                            23. Licenses, franchises, and other general             X
                                                                                            intangibles. Give particulars.

                                                                                            24. Customer lists or other compilations                X
                                                                                            containing personally identifiable information
                                                                                            (as defined in 11 U.S.C. §101(41A)) provided to
                                                                                            the debtor by individuals in connection with
                                                                                            obtaining a product or service from the debtor
                                                                                            primarily for personal, family, or household
                                                                                            purposes.
                                                                                                        Case6B)12-70371
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                                                                                          In re     Ty Beard                                                                          Case No.
                                                                                                                            Debtor                                                                             (If known)

                                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                             (Continuation Sheet)




                                                                                                                                                                                                                         HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                CURRENT VALUE OF




                                                                                                                                                                                                                           OR COMMUNITY
                                                                                                                                                                                                                                                DEBTOR’S INTEREST
                                                                                                                                               N                                                                                                   IN PROPERTY,
                                                                                                      TYPE OF PROPERTY                         O                  DESCRIPTION AND LOCATION                                                           WITHOUT
                                                                                                                                               N                        OF PROPERTY                                                              DEDUCTING ANY
                                                                                                                                               E                                                                                                 SECURED CLAIM
                                                                                                                                                                                                                                                  OR EXEMPTION


                                                                                            25. Automobiles, trucks, trailers, and other
                                                                                            vehicles and accessories.
                                                                                                                                                       2001 Ford Excursion                                                                            1,925.00
                                                                                                                                                       265k miles

                                                                                                                                                       1996 Geo Prizm                                                                                   425.00
                                                                                                                                                       165k miles

                                                                                                                                                       1996 Harley Davidson Ultra Classic                                                             1,775.00
                                                                                                                                                       2008 Artic Cat F1000                                                                           6,600.00
                                                                                            26. Boats, motors, and accessories.                X
                                                                                            27. Aircraft and accessories.                      X
                                                                                            28. Office equipment, furnishings, and supplies.   X
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                                                                                            29. Machinery, fixtures, equipment, and            X
                                                                                            supplies used in business.

                                                                                            30. Inventory.                                     X
                                                                                            31. Animals.                                       X
                                                                                            32. Crops - growing or harvested. Give             X
                                                                                            particulars.

                                                                                            33. Farming equipment and implements.              X
                                                                                            34. Farm supplies, chemicals, and feed.            X
                                                                                            35. Other personal property of any kind not
                                                                                            already listed. Itemize.
                                                                                                                                                       Hand Tools                                                                                       300.00
                                                                                                                                                       drills, hammer, saws, chain saw, misc power
                                                                                                                                                       tools




                                                                                                                                                                        0    continuation sheets attached        Total                          $    20,584.00
                                                                                                                                                                             (Include amounts from any continuation
                                                                                                                                                                               sheets attached. Report total also on
                                                                                                                                                                                     Summary of Schedules.)
                                                                                                          Case 12-70371            Doc 1       Filed 02/23/12 Entered 02/23/12 16:07:42                           Desc Main
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                                                                                          In re    Ty Beard                                                                        Case No.
                                                                                                                    Debtor                                                                                (If known)

                                                                                                                   SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                            Debtor claims the exemptions to which debtor is entitled under:
                                                                                            (Check one box)

                                                                                                  11 U.S.C. § 522(b)(2)                                           Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                  $146,450*.
                                                                                                  11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                     CURRENT
                                                                                                                                                         SPECIFY LAW                         VALUE OF           VALUE OF PROPERTY
                                                                                                      DESCRIPTION OF PROPERTY                          PROVIDING EACH                        CLAIMED            WITHOUT DEDUCTING
                                                                                                                                                          EXEMPTION                         EXEMPTION               EXEMPTION


                                                                                             Checking Account                                735 I.L.C.S 5§12-1001(b)                                450.00                     450.00

                                                                                             Household Goods                                 735 I.L.C.S 5§12-1001(b)                                900.00                     900.00

                                                                                             Clothing                                        735 I.L.C.S 5§12-1001(a)                                200.00                     200.00

                                                                                             2001 Ford Excursion                             735 I.L.C.S 5§12-1001(c)                              1,925.00                   1,925.00

                                                                                             1996 Geo Prizm                                  735 I.L.C.S 5§12-1001(b)                                425.00                     425.00

                                                                                             1996 Harley Davidson Ultra Classic              735 I.L.C.S 5§12-1001(b)                              1,775.00                   1,775.00
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                                                                                             Hand Tools                                      735 I.L.C.S 5§12-1001(b)                                300.00                     300.00

                                                                                                                                             Total exemptions claimed:                             5,975.00




                                                                                            *Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                   Ty Beard
                                                                                          In re _______________________________________________,                                                                    Case No. _________________________________
                                                                                                                        Debtor                                                                                                                                    (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                    State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                          by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                          useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                          such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                     List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                          address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                          §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                          include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                          husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                          "Husband, Wife, Joint, or Community."
                                                                                                    If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                          labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                          one of these three columns.)
                                                                                                    Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                          labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                          Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                          the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                                                                                                                                                                                                                                                              AMOUNT
                                                                                                                                                    HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                                                               DATE CLAIM WAS INCURRED,                                                          OF
                                                                                                                                         CODEBTOR




                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                                                      ORCOMMUNITY




                                                                                                     CREDITOR’S NAME,
                                                                                                      MAILING ADDRESS                                                             NATURE OF LIEN, AND                                                          CLAIM           UNSECURED
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                                                                                                    INCLUDING ZIP CODE,                                                            DESCRIPTION AND                                                            WITHOUT           PORTION,
                                                                                                   AND ACCOUNT NUMBER                                                             VALUE OF PROPERTY                                                          DEDUCTING           IF ANY
                                                                                                     (See Instructions Above.)                                                      SUBJECT TO LIEN                                                           VALUE OF
                                                                                                                                                                                                                                                            COLLATERAL


                                                                                          ACCOUNT NO. 1469                                                                 Incurred: 1/2006
                                                                                                                                                                           Lien: Second Mortgage
                                                                                          Associated Bank Corp                                                             Security: 5 bedroom, 4 bathroom approx
                                                                                          1305 Main Street                                                                 3600 sq ft                                                                         57,985.00             0.00
                                                                                          Stevens Point, WI 54481

                                                                                                                                                                            VALUE $               300,000.00
                                                                                          ACCOUNT NO. 7600                                                                 Incurred: 12/2005
                                                                                                                                                                           Lien: 1st Mortgage
                                                                                          Chase Mortgage                                                                   Security: 5 bedroom, 4 bathroom approx
                                                                                          P.O. Box 24696                                                                   3600 sq ft                                                                        211,188.00             0.00
                                                                                          Colombus, OH 43224

                                                                                                                                                                            VALUE $               300,000.00
                                                                                          ACCOUNT NO. 6276                                                                 Incurred: 9/2008
                                                                                                                                                                           Security: 2008 Artic Cat F1000
                                                                                          US Bank
                                                                                          P.O. Box 5227                                                                                                                                                        4,615.00             0.00
                                                                                          Cincinnati, OH 45201

                                                                                                                                                                            VALUE $                  6,600.00

                                                                                             0
                                                                                           _______continuation sheets attached                                                                                   Subtotal     $                              273,788.00   $         0.00
                                                                                                                                                                                                         (Total of this page)
                                                                                                                                                                                                                     Total
                                                                                                                                                                                                      (Use only on last page)
                                                                                                                                                                                                                              $                              273,788.00   $         0.00
                                                                                                                                                                                                                                                  (Report also on       (If applicable, report
                                                                                                                                                                                                                                                  Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                        Summary of Certain
                                                                                                                                                                                                                                                                        Liabilities and Related
                                                                                                                                                                                                                                                                        Data.)
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                                                                                                    Ty Beard
                                                                                             In re________________________________________________________________,                             Case No.______________________________
                                                                                                                     Debtor                                                                                   (if known)

                                                                                                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                   A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                            unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                            address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                            property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                            the type of priority.

                                                                                                   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                            the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                            "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                            entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                            both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                            Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                            in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                            more than one of these three columns.)

                                                                                                  Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                            Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                      Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                                            amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                            primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                     Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
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                                                                                            amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                            with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                            Data.



                                                                                                Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                           TYPES OF PRIORITY CLAIMS                   (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)



                                                                                                 Domestic Support Obligations

                                                                                                Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                          or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                          11 U.S.C. § 507(a)(1).


                                                                                                 Extensions of credit in an involuntary case

                                                                                                Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                 Wages, salaries, and commissions

                                                                                                   Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                           independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                           cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                 Contributions to employee benefit plans

                                                                                                      Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                              cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                    *Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                        Ty Beard
                                                                                                In re________________________________________________________________,                      Case No.______________________________
                                                                                                                        Debtor                                                                            (if known)




                                                                                                 Certain farmers and fishermen
                                                                                               Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                 Deposits by individuals
                                                                                               Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                           that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                 Taxes and Certain Other Debts Owed to Governmental Units

                                                                                               Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                                 Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                              Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                           Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
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                                                                                           U.S.C. § 507 (a)(9).



                                                                                                 Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                          alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




                                                                                           * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                           adjustment.




                                                                                                                                                     1 continuation sheets attached
                                                                                                                                                    ____
                                                                                                       Case 12-70371                Doc 1                        Filed 02/23/12 Entered 02/23/12 16:07:42                                                                  Desc Main
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                                                                                          B6E (Official Form 6E) (04/10) - Cont.


                                                                                                   Ty Beard
                                                                                            In re __________________________________________________,                                                                                          Case No. _________________________________
                                                                                                                              Debtor                                                                                                                                     (If known)

                                                                                               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                                                     (Continuation Sheet)                                           Sec. 507(a)(8)
                                                                                                                                                                                                                                               Type of Priority for Claims Listed on This Sheet




                                                                                                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                         ORCOMMUNITY




                                                                                                                                                                                                        CONTINGENT
                                                                                                                                                                                                                                                                                        AMOUNT

                                                                                                                                            CODEBTOR
                                                                                                      CREDITOR’S NAME,                                                         DATE CLAIM WAS




                                                                                                                                                                                                                                    DISPUTED
                                                                                                      MAILING ADDRESS                                                           INCURRED AND                                                         AMOUNT            AMOUNT             NOT
                                                                                                    INCLUDING ZIP CODE,                                                        CONSIDERATION                                                           OF            ENTITLED TO       ENTITLED
                                                                                                   AND ACCOUNT NUMBER                                                             FOR CLAIM                                                           CLAIM           PRIORITY             TO
                                                                                                     (See instructions above..)                                                                                                                                                       PRIORITY, IF
                                                                                                                                                                                                                                                                                          ANY

                                                                                          ACCOUNT NO.
                                                                                                            3333                                                              Incurred: 2006
                                                                                                                                                                              Consideration: 2006
                                                                                          City of Saginaw                                                                     State tax
                                                                                          1315 S Washington Avenue                                                            for Allied Municipal                                                      490.91            321.00           169.91
                                                                                                                                                                              Supply
                                                                                          P.O. Box 5084
                                                                                          Saginaw, Michigan 48605
                                                                                          ACCOUNT NO.                                                                         Incurred: 12/2011
                                                                                                            1035
                                                                                                                                                                              Consideration: 2010 Tax
                                                                                          City of Talladega                                                                   For Allied Municipal
                                                                                                                                                                              Supply                                                                    139.40            100.00            39.40
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                                                                                          P.O. Box 498
                                                                                          talladega, Alabama 35161


                                                                                          ACCOUNT NO.




                                                                                          ACCOUNT NO.




                                                                                                     1 of ___continuation
                                                                                          Sheet no. ___    1               sheets attached to Schedule of
                                                                                                                                                                                                     Subtotal                                   $       630.31 $                      $
                                                                                                                                                                                            (Totals of this page)
                                                                                          Creditors Holding Priority Claims
                                                                                                                                                                                                     Total                                      $       630.31
                                                                                                                                                        (Use only on last page of the completed
                                                                                                                                                        Schedule E.) Report also on the Summary
                                                                                                                                                        of Schedules)

                                                                                                                                                                                                     Totals                                     $                    $    421.00      $    209.31
                                                                                                                                                        (Use only on last page of the completed
                                                                                                                                                        Schedule E. If applicable, report also on
                                                                                                                                                        the Statistical Summary of Certain
                                                                                                                                                        Liabilities and Related Data.)
                                                                                                         Case 12-70371                 Doc 1                     Filed 02/23/12 Entered 02/23/12 16:07:42                                                   Desc Main
                                                                                                                                                                  Document     Page 27 of 66
                                                                                          B6F (Official Form 6F) (12/07)

                                                                                                   Ty Beard
                                                                                           In re __________________________________________,                                                                Case No. _________________________________
                                                                                                                          Debtor                                                                                                                       (If known)

                                                                                                SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                           against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                           useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                           of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                           1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                           appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                           community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                           "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                     Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                           Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                           Related Data.
                                                                                                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                        UNLIQUIDATED
                                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                           CONTINGENT
                                                                                                                                               CODEBTOR




                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                       DISPUTED
                                                                                                      CREDITOR’S NAME,                                                                                                                                                AMOUNT
                                                                                                       MAILING ADDRESS                                                                 CONSIDERATION FOR CLAIM.
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                     OF
                                                                                                     INCLUDING ZIP CODE,                                                                                                                                               CLAIM
                                                                                                    AND ACCOUNT NUMBER                                                                          SO STATE.
                                                                                                      (See instructions above.)

                                                                                          ACCOUNT NO.         0244                                                               Incurred: 2001
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                                                                                          ABC Logistics                                                                          Consideration: Business Debt
                                                                                          P.O. Box 2803                                                                                                                                                                   6,596.45
                                                                                          Little Rock, AR 72203


                                                                                          ACCOUNT NO.         4611                                                               Incurred: 2003
                                                                                          Advance Waterjet Technologies                                                          Consideration: Business Debt
                                                                                          1035 Progress Drive                                                                                                                                                             3,081.65
                                                                                          Fergusfalls, MN 56537


                                                                                          ACCOUNT NO.         9265                                                               Incurred: 4/2011
                                                                                          Agri-Gold                                                                              Consideration: Business Debt
                                                                                          5381 Akin Road                                                                                                                                                                 53,880.00
                                                                                          St. Francis, IL 62460


                                                                                          ACCOUNT NO.         5543                                                               Incurred: 2002
                                                                                          Airweld                                                                                Consideration: Business Debt
                                                                                          2095 East Olive Street                                                                                                                                                           291.08
                                                                                          Decatur, IL 62526



                                                                                                20
                                                                                              _______continuation sheets attached                                                                                        Subtotal                                 $      63,849.18
                                                                                                                                                                                                              Total                                               $
                                                                                                                                                               (Use only on last page of the completed Schedule F.)
                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                 Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                          CODEBTOR
                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                      MAILING ADDRESS                                                                                                                                                            AMOUNT
                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                   OF
                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                              CLAIM
                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      5543                                                              Incurred: 2004
                                                                                          Allied Tube & Conduit                                                              Consideration: Business Debt
                                                                                          Dept CH 10415                                                                                                                                                                         1,094,631.70
                                                                                          Palatine, IL 60055-0415


                                                                                          ACCOUNT NO.      4864                                                              Incurred: 2011
                                                                                          American Credit Systems, Inc                                                       Consideration: Collection
                                                                                                                                                                             Against Allied Municipal Supply
Bankruptcy2011 ©1991-2011, New Hope Software, Inc., ver. 4.6.5-768 - 31983-301X-09310 -




                                                                                          P.O. Box 72849                                                                                                                                                                            1,523.69
                                                                                          Roselle, IL 60172


                                                                                          ACCOUNT NO.      2876                                                              Incurred: 2001
                                                                                          American Traffic Safety                                                            Consideration: Business Debt
                                                                                          Materials                                                                                                                                                                                 6,075.75
                                                                                          P.O. Box 1449
                                                                                          Orange Park, FL 32067-1449

                                                                                          ACCOUNT NO.      0865                                                              Incurred: 2003
                                                                                          Americana Powder Finishing                                                         Consideration: Business Debt
                                                                                          P.O. Box 1290                                                                                                                                                                             5,896.35
                                                                                          Salem, IL 62881


                                                                                           ACCOUNT NO.     1394                                                              Incurred: 2001
                                                                                          ART Transportation Service                                                         Consideration: Business Debt
                                                                                          P.O. Box 82                                                                                                                                                                               1,549.59
                                                                                          Lockport, IL 60441-0082


                                                                                                     1 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $   1,109,677.08
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                          CODEBTOR
                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      9248                                                              Incurred: 11/2011
                                                                                          Aspen Coll                                                                         Consideration: Collection
                                                                                          Pob 5129                                                                           Vacation Village                                                                                     1,079.00
                                                                                          Spring Hill, FL 34611


                                                                                          ACCOUNT NO.      4049                                                              Incurred: 2002
                                                                                          Atlas Copco                                                                        Consideration: Business Debt
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                                                                                          P.O. Box 8500                                                                                                                                                                           9,425.05
                                                                                          Philadelphia, PA 19178-6621


                                                                                          ACCOUNT NO.      5917                                                              Incurred: 2005
                                                                                          Avery Dennison Reflective                                                          Consideration: Business Debt
                                                                                          Films                                                                                                                                                                                  62,020.73
                                                                                          96586 Collection Circle
                                                                                          Chicago, IL 60693

                                                                                          ACCOUNT NO.      6163                                                              Incurred: 5/2011
                                                                                          Barricade Light, Inc.                                                              Consideration: Business Debt
                                                                                          1490 Jeffrey Drive                                                                                                                                                                      1,338.80
                                                                                          Addison, IL 60101


                                                                                           ACCOUNT NO.     3334                                                              Incurred: 5/2011
                                                                                          Bond Coutny Highway                                                                Consideration: Business Debt
                                                                                          1405 S. 4th Street                                                                                                                                                                       296.44
                                                                                          Greenville, IL 62246


                                                                                                     2 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $    74,160.02
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                          CODEBTOR
                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      0886                                                              Incurred: 2012
                                                                                          Bonded Collection Corporation                                                      Consideration: Collection
                                                                                          29 East Madision Street                                                            Conway-Freight                                                                                      11,527.46
                                                                                          Ste 1650
                                                                                          Chicago, IL 60602

                                                                                          ACCOUNT NO.      1118                                                              Incurred: 12/2011
                                                                                                                                                                             Consideration: Collection
                                                                                          C. Edwin Walker
                                                                                                                                                                             US Standard Sign Co
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                                                                                          411 Hamilton Blvd                                                                                                                                                                      97,800.35
                                                                                                                                                                             for Allied Municipal Supply
                                                                                          Ste 1710
                                                                                          Peoria, IL 61602

                                                                                          ACCOUNT NO.      L220                                                              Incurred: 2010
                                                                                          Caine & Weiner                                                                     Consideration: Collection
                                                                                          P.O. Box 5010                                                                      Pitney Bowes                                                                                          781.28
                                                                                          Woodland Hills, CA 91365-5010


                                                                                          ACCOUNT NO.      3991                                                              Incurred: 12/1999
                                                                                          Cap One                                                                            Consideration: Credit card debt
                                                                                          Po Box 85520                                                                                                                                                                            5,977.00
                                                                                          Richmond, VA 23285


                                                                                           ACCOUNT NO.     5354                                                              Incurred: 2002
                                                                                          CCX Con Wat Cent Express                                                           Consideration: Business Debt
                                                                                          P.O. Box 5160                                                                                                                                                                           3,744.40
                                                                                          Portland, OR 97208-5160


                                                                                                     3 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $   119,830.49
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                          CODEBTOR
                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      0543                                                              Incurred: 2006
                                                                                          Central Transport 1                                                                Consideration: Business Debt
                                                                                          P.O. Box 33299                                                                                                                                                                              4,017.84
                                                                                          Detroit, MI 48232


                                                                                          ACCOUNT NO.      6154                                                              Incurred: 2004
                                                                                          CGS Sales & Service, LLC                                                           Consideration: Business Debt
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                                                                                          6950 River Road                                                                                                                                                                               577.12
                                                                                          Pennsauken, NJ 08110


                                                                                          ACCOUNT NO.      1144                                                              Incurred: 7/2008
                                                                                          Champaign Asphalt                                                                  Consideration: Business Debt
                                                                                          P.O. Box 1730                                                                                                                                                                               2,835.49
                                                                                          Champaign, IL 61824


                                                                                          ACCOUNT NO.      4487                                                              Incurred: 2003
                                                                                          Chicago Heights Steel                                                              Consideration: Business Debt
                                                                                          1116 Momentrum Pl                                                                                                                                                                          39,440.50
                                                                                          Chicago, IL 60689-5311


                                                                                           ACCOUNT NO.     1551                                                              Incurred: 2011
                                                                                                                                                                             Consideration: Collection - Business
                                                                                          Chrisopher Siudyla
                                                                                                                                                                             Debt
                                                                                          P.O. Box 25138                                                                                                                                                                        Notice Only
                                                                                                                                                                             Dynagraphics
                                                                                          Decatur, IL 62525


                                                                                                     4 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $        46,870.95
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                          CODEBTOR
                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      1170                                                              Incurred: 2011
                                                                                                                                                                             Consideration: Collection - Business
                                                                                          Christopher M. Tietz
                                                                                                                                                                             Debt
                                                                                          Tietz Law Office                                                                                                                                                                      Notice Only
                                                                                                                                                                             Gregory Shoop
                                                                                          P.O. Box 1664
                                                                                          Decatur, IL 62525

                                                                                          ACCOUNT NO.      8344                                                              Incurred: 10/2010
                                                                                          City of Auburn                                                                     Consideration: Business Debt
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                                                                                          324 W. Jefferson                                                                                                                                                                              666.50
                                                                                          Auburn, IL 62615


                                                                                          ACCOUNT NO.      5661                                                              Incurred: 11/2010
                                                                                          City of Benton Harbor                                                              Consideration: Business Debt
                                                                                          200 E. Wall Street                                                                                                                                                                             78.14
                                                                                          Benton harbor, MI 49022


                                                                                          ACCOUNT NO.      0641                                                              Incurred: 1/2011
                                                                                          City of LaCrosse                                                                   Consideration: Business Debt
                                                                                          2000 Marco Drive                                                                                                                                                                            4,833.00
                                                                                          LaCrosse, WI 54601


                                                                                           ACCOUNT NO.     0641                                                              Incurred: 1/2011
                                                                                          City of Litchfield                                                                 Consideration: Business Debt
                                                                                          120 E. Ryder                                                                                                                                                                                4,833.00
                                                                                          Litchfield, IL 62056


                                                                                                     5 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $        10,410.64
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
                                                                                                                                                               Document     Page 33 of 66
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                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                          CODEBTOR
                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      7/2010                                                            Incurred: 7/2010
                                                                                          City of London                                                                     Consideration: Business Debt
                                                                                          501 S. Main Street                                                                                                                                                                      1,026.16
                                                                                          London, KY 40741


                                                                                          ACCOUNT NO.      989                                                               Incurred: 4/2011
                                                                                          City of Macomb                                                                     Consideration: Business Debt
Bankruptcy2011 ©1991-2011, New Hope Software, Inc., ver. 4.6.5-768 - 31983-301X-09310 -




                                                                                          P.O. Box 377                                                                                                                                                                            1,759.89
                                                                                          Macomb, IL 61455


                                                                                          ACCOUNT NO.      2187                                                              Incurred: 10/10
                                                                                          City of Macon                                                                      Consideration: Business Debt
                                                                                          P.O. Box 349                                                                                                                                                                              60.00
                                                                                          Macon, IL 62544


                                                                                          ACCOUNT NO.      2186                                                              Incurred: 10/2010
                                                                                          City of Moline                                                                     Consideration: Business Debt
                                                                                          3635 4th Avenue                                                                                                                                                                          312.40
                                                                                          Moline, IL 61256


                                                                                           ACCOUNT NO.     252                                                               Incurred: 1/2011
                                                                                          City of Morehead                                                                   Consideration: Business Debt
                                                                                          105 E. Main Street                                                                                                                                                                       160.32
                                                                                          Morehead, KY 40351


                                                                                                     6 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $     3,318.77
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




                                                                                                                                                                                                                                                 UNLIQUIDATED
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                                                                                                                                          CODEBTOR
                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




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                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
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                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      322                                                               Incurred: 2010
                                                                                          Computer Techniques                                                                Consideration: Business Debt
                                                                                          P.O. Box 6242                                                                                                                                                                                  25.00
                                                                                          Taylorville, IL 62568


                                                                                          ACCOUNT NO.      9000                                                              Incurred: 2002
                                                                                          Consolidated Communications                                                        Consideration: Business Debt
Bankruptcy2011 ©1991-2011, New Hope Software, Inc., ver. 4.6.5-768 - 31983-301X-09310 -




                                                                                          P.O. Box 2564                                                                                                                                                                                 570.92
                                                                                          Decatur, IL 62525


                                                                                          ACCOUNT NO.      0000                                                              Incurred: 2010
                                                                                          CYD Enterprises                                                                    Consideration: Rent
                                                                                          1901 S. Spresser Street                                                                                                                                                                    50,000.00
                                                                                          Taylorville, IL 62568


                                                                                          ACCOUNT NO.      0000                                                              Incurred: 2010
                                                                                          Dan & Millie Garren                                                                Consideration: Landlord
                                                                                          1901 S. Spresser Street                                                                                                                                                               Notice Only
                                                                                          Taylorville, IL 62568


                                                                                           ACCOUNT NO.     9950                                                              Incurred: 2005
                                                                                          Dynagraphics, Inc                                                                  Consideration: Business Debt
                                                                                          P.O. Box 2730                                                                                                                                                                               2,424.71
                                                                                          Decatur, IL 62524


                                                                                                     7 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $        53,020.63
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




                                                                                                                                                                                                                                                 UNLIQUIDATED
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                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
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                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      5483                                                              Incurred: 2002
                                                                                          Elgin Molded Plastic                                                               Consideration: Business Debt
                                                                                          909 Grace Street                                                                                                                                                                         526.92
                                                                                          Elgin, IL 60120


                                                                                          ACCOUNT NO.      8769                                                              Incurred: 2001
                                                                                          Estes Express Lines                                                                Consideration: Business Debt
Bankruptcy2011 ©1991-2011, New Hope Software, Inc., ver. 4.6.5-768 - 31983-301X-09310 -




                                                                                          P.O. Box 12512                                                                                                                                                                          1,400.00
                                                                                          Richmond, VA 23260-5612


                                                                                          ACCOUNT NO.      0686                                                              Incurred: 1/2009
                                                                                          Fayette County Highway                                                             Consideration: Business Debt
                                                                                          P.O. Box 297                                                                                                                                                                            2,641.27
                                                                                          Vandalia, IL 62471


                                                                                          ACCOUNT NO.      2783                                                              Incurred: 5/1999
                                                                                          Fcnb Mstr Tr                                                                       Consideration: Credit card debt
                                                                                          P.o. Box 3412                                                                                                                                                                           2,767.00
                                                                                          Omaha, NE 68197


                                                                                           ACCOUNT NO.     1147                                                              Incurred: 2008
                                                                                          Fed Ex                                                                             Consideration: Business Debt
                                                                                          P.O. box 1140                                                                                                                                                                             31.11
                                                                                          Memphis, TN 38101-1140


                                                                                                     8 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $     7,366.30
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




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                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
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                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      1170                                                              Incurred: 2011
                                                                                          Gregory Shoop                                                                      Consideration: Collection
                                                                                          c/o Christopher Tietz                                                              against Allied Municipal Supply                                                                     13,231.84
                                                                                          Decatur, IL 62525


                                                                                          ACCOUNT NO.      088                                                               Incurred: 2001
                                                                                          Grimco                                                                             Consideration: Business Debt
Bankruptcy2011 ©1991-2011, New Hope Software, Inc., ver. 4.6.5-768 - 31983-301X-09310 -




                                                                                          1585 Fencorp Dr                                                                                                                                                                         3,095.00
                                                                                          Fenton, MO 63026


                                                                                          ACCOUNT NO.      2596                                                              Incurred: 2003
                                                                                          Gulf Great Plains Packaging                                                        Consideration: Business Debt
                                                                                          P.O. Box 460005                                                                                                                                                                         1,111.51
                                                                                          St. Louis, MO 63146


                                                                                          ACCOUNT NO.      6660                                                              Incurred: 2005
                                                                                          GWenco Metal Fab                                                                   Consideration: Business Debt
                                                                                          9208 W Grand Ave                                                                                                                                                                        3,280.82
                                                                                          Franklin Park, IL 60131


                                                                                           ACCOUNT NO.     7873                                                              Incurred: 6/2010
                                                                                          Henning Painting Co                                                                Consideration: Business Debt
                                                                                          5795 N. County Road 1020e                                                                                                                                                                 67.72
                                                                                          Mattoon, IL 61938


                                                                                                     9 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $    20,786.89
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




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                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      7873                                                              Incurred: 2005
                                                                                          Hinckey Springs                                                                    Consideration: Business Debt
                                                                                          P.O. Box 660579                                                                                                                                                                           24.02
                                                                                          Dallas, TX 75266-0579


                                                                                          ACCOUNT NO.      9650                                                              Incurred: 8/2006
                                                                                          Hsbc Bank                                                                          Consideration: Credit card debt
Bankruptcy2011 ©1991-2011, New Hope Software, Inc., ver. 4.6.5-768 - 31983-301X-09310 -




                                                                                          Po Box 5253                                                                                                                                                                               10.00
                                                                                          Carol Stream, IL 60197


                                                                                          ACCOUNT NO.      7030                                                              Incurred: 2009
                                                                                          illini Metal Works                                                                 Consideration: Business Debt
                                                                                          P.O. Box 555                                                                                                                                                                             443.20
                                                                                          Taylorville, IL 62568


                                                                                          ACCOUNT NO.      5818                                                              Incurred: 2007
                                                                                          Inventory Sales Co.                                                                Consideration: Business Debt
                                                                                          9777 Reavis Rd                                                                                                                                                                          5,170.00
                                                                                          St. Louis, Mo 64015


                                                                                           ACCOUNT NO.     0450                                                              Incurred: 2005
                                                                                          J&A Traffic Products                                                               Consideration: Business Debt
                                                                                          790 West 40 HWY                                                                                                                                                                          633.94
                                                                                          Blue Springs, MO 64015


                                                                                                     10 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $     6,281.16
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




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                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      8603                                                              Incurred: 2006
                                                                                          Jim Hermann                                                                        Consideration: Business Debt
                                                                                          22209 W 10th Road                                                                                                                                                                        480.00
                                                                                          Harvel, IL 62538


                                                                                          ACCOUNT NO.      5569                                                              Incurred: 2004
                                                                                          JJ Ventures, Inc                                                                   Consideration: Business Debt
Bankruptcy2011 ©1991-2011, New Hope Software, Inc., ver. 4.6.5-768 - 31983-301X-09310 -




                                                                                          P.O. Box 1709                                                                                                                                                                             27.03
                                                                                          Effingham, IL 62401


                                                                                          ACCOUNT NO.      0960                                                              Incurred: 2007
                                                                                          Kerber, Eck & Braeckel                                                             Consideration: Business Debt
                                                                                          1000 Meyers Building                                                                                                                                                                     336.00
                                                                                          Springfield, IL 62701


                                                                                          ACCOUNT NO.      3620                                                              Incurred: 2009
                                                                                          Lakeside Plastic                                                                   Consideration: Business Debt
                                                                                          P.O. Box 2384                                                                                                                                                                            349.23
                                                                                          Oshkosh, WI 54903


                                                                                           ACCOUNT NO.     9400                                                              Incurred: 2009
                                                                                          Landstar                                                                           Consideration: Business Debt
                                                                                          P.O. Box 8500                                                                                                                                                                           1,800.00
                                                                                          Philadelphia, PA 19178


                                                                                                     11 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $     2,992.26
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
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                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




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                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      3328                                                              Incurred: 6/2011
                                                                                          Macon County Highway                                                               Consideration: Business Debt
                                                                                          Department                                                                                                                                                                                86.05
                                                                                          2405 N. Woodford Street
                                                                                          Decatur, IL 62526

                                                                                          ACCOUNT NO.      1598                                                              Incurred: 7/2010
                                                                                          Marion County Highway                                                              Consideration: Business Debt
Bankruptcy2011 ©1991-2011, New Hope Software, Inc., ver. 4.6.5-768 - 31983-301X-09310 -




                                                                                          Department                                                                                                                                                                               203.16
                                                                                          901 West Elm Street
                                                                                          Salem, IL 62881

                                                                                          ACCOUNT NO.      0223                                                              Incurred: 2006
                                                                                          Mason County Highway                                                               Consideration: Business Debt
                                                                                          101 W. Main Street                                                                                                                                                                      1,084.32
                                                                                          Havana, IL 62644


                                                                                          ACCOUNT NO.      9002                                                              Incurred: 2006
                                                                                          MD Solutions, LLC                                                                  Consideration: Business Debt
                                                                                          8225 Estates Park                                                                                                                                                                       4,064.20
                                                                                          Plain City, OH 43064


                                                                                           ACCOUNT NO.     4463                                                              Incurred: 2004
                                                                                          N&M Transfer Co, Inc                                                               Consideration: Business Debt
                                                                                          630 Muttart Road                                                                                                                                                                         275.78
                                                                                          Neenah, WI 54956


                                                                                                     12 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $     5,713.51
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




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                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      2021                                                              Incurred: 2006
                                                                                          Nazdar                                                                             Consideration: Business Debt
                                                                                          P.O. Box 71121                                                                                                                                                                           275.78
                                                                                          Chicago, IL 60694


                                                                                          ACCOUNT NO.      0904                                                              Incurred: 04/2010
                                                                                          Nokomis Road District                                                              Consideration: Business Debt
Bankruptcy2011 ©1991-2011, New Hope Software, Inc., ver. 4.6.5-768 - 31983-301X-09310 -




                                                                                          19214 N. 19th Avenue                                                                                                                                                                      68.40
                                                                                          Witt, IL 62094


                                                                                          ACCOUNT NO.      4334                                                              Incurred: 2007
                                                                                          Norrenberns Truck Service                                                          Consideration: Business Debt
                                                                                          P.O. Box 790126                                                                                                                                                                         5,988.68
                                                                                          St. Louis, MO 63179


                                                                                          ACCOUNT NO.      3636                                                              Incurred: 2001
                                                                                          Pittney Bowes                                                                      Consideration: Business Debt
                                                                                          P.O. Box 856042                                                                                                                                                                         2,658.00
                                                                                          Loouisville, KY 40285


                                                                                           ACCOUNT NO.     3636                                                              Incurred: 2004
                                                                                          Poster Compliance                                                                  Consideration: Business Debt
                                                                                          3687 Mt. Diablo Blvd                                                                                                                                                                      86.17
                                                                                          Lafayette, CA 94549


                                                                                                     13 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $     9,077.03
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




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                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      4664                                                              Incurred: 2003
                                                                                          RC Motor Transport, Inc                                                            Consideration: Business Debt
                                                                                          11870 Topanga                                                                                                                                                                            858.88
                                                                                          Frankfort, IL 60423


                                                                                          ACCOUNT NO.      16                                                                Incurred: 2002
                                                                                          Repnet Inc                                                                         Consideration: Business Debt
Bankruptcy2011 ©1991-2011, New Hope Software, Inc., ver. 4.6.5-768 - 31983-301X-09310 -




                                                                                          10740 Lyndale South                                                                                                                                                                      567.06
                                                                                          Bloomington, MN 55420


                                                                                          ACCOUNT NO.      8566                                                              Incurred: 2009
                                                                                          Schatzie Trucklines                                                                Consideration: Business Debt
                                                                                          P.O. Box 13115                                                                                                                                                                            80.00
                                                                                          Spokane, WA 99213


                                                                                          ACCOUNT NO.      9986                                                              Incurred: 11/2009
                                                                                          Shelby County Highway                                                              Consideration: Business Debt
                                                                                          Department                                                                                                                                                                               241.44
                                                                                          RR#3 Box 38A
                                                                                          Shelbyville, IL 62565

                                                                                           ACCOUNT NO.     4711                                                              Incurred: 2006
                                                                                          Shoop & Sons                                                                       Consideration: Business debt
                                                                                          P.O. Box 161                                                                                                                                                                           12,094.26
                                                                                          Decatur, IL 62525


                                                                                                     14 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $    13,841.64
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
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                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




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                                                                                                                                                       ORCOMMUNITY




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                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      2400                                                              Incurred: 2004
                                                                                          Simi Fasteners                                                                     Consideration: Business Debt
                                                                                          4615 Industrial Street                                                                                                                                                                        199.76
                                                                                          Simi valley, CA 93245


                                                                                          ACCOUNT NO.      2954                                                              Incurred: 1/2010
                                                                                          Simmons Eng, Inc                                                                   Consideration: Business Debt
Bankruptcy2011 ©1991-2011, New Hope Software, Inc., ver. 4.6.5-768 - 31983-301X-09310 -




                                                                                          P.O. Box 69                                                                                                                                                                                   804.00
                                                                                          West Paducah, KY 42086


                                                                                          ACCOUNT NO.      3840                                                              Incurred: 8/2010
                                                                                          South Fork Township                                                                Consideration: Business Debt
                                                                                          P.O. Box 257                                                                                                                                                                                   19.96
                                                                                          Kincaid, IL 62540


                                                                                          ACCOUNT NO.                                                                        Incurred: 2010
                                                                                                                                                                             Consideration: Collection - Business
                                                                                          Spilotro Law Group, LLC
                                                                                                                                                                             Debt
                                                                                          2551 N. Clark Street, Ste 405                                                                                                                                                         Notice Only
                                                                                                                                                                             Avery Dennison
                                                                                          Chicago, IL 60614


                                                                                           ACCOUNT NO.     4763                                                              Incurred: 2/2009
                                                                                          St. Gregory Retreat                                                                Consideration: Medical services
                                                                                          5875 Fleur Drive                                                                                                                                                                            1,169.00
                                                                                          Des Moines, IA 50321


                                                                                                     15 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $         2,192.72
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
                                                                                                                                                               Document     Page 43 of 66
                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                          CODEBTOR
                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      0016                                                              Incurred: 2010
                                                                                          Stark County Highway                                                               Consideration: Business Debt
                                                                                          Department                                                                                                                                                                             19,788.55
                                                                                          411 E. Main Street
                                                                                          Toulon, IL 61483

                                                                                          ACCOUNT NO.      7000                                                              Incurred: 2011
                                                                                          TAPCO                                                                              Consideration: Business Debt
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                                                                                          80 Wall Street                                                                                                                                                                           143.36
                                                                                          Elm Grove, WI 53122


                                                                                          ACCOUNT NO.      0018                                                              Incurred: 3/2010
                                                                                          Town of Marana                                                                     Consideration: Business Debt
                                                                                          1155 W. Civic Center                                                                                                                                                                      29.77
                                                                                          Marana, AZ 85653


                                                                                          ACCOUNT NO.      8631                                                              Incurred: 3/2009
                                                                                          Traffic Control & Protection                                                       Consideration: Business Debt
                                                                                          31W351 North Avenue                                                                                                                                                                       28.31
                                                                                          West Chicago, IL 60185


                                                                                           ACCOUNT NO.     9612                                                              Incurred: 2009
                                                                                          Traffic Safety Company                                                             Consideration: Business debt
                                                                                          P.O. Box 1450                                                                                                                                                                            996.48
                                                                                          Green Forest, AR 72638


                                                                                                     16 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $    20,986.47
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                          CODEBTOR
                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      5510                                                              Incurred: 2010
                                                                                          ULINE                                                                              Consideration: Business Debt
                                                                                          2200 S. Lakeside Drive                                                                                                                                                                   615.59
                                                                                          Waukegan, IL 60082


                                                                                          ACCOUNT NO.      0295                                                              Incurred: 2011
                                                                                          Unique Personnel Consultants                                                       Consideration: Business Debt
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                                                                                          2501 Chatham Road                                                                                                                                                                       6,880.00
                                                                                          Springfield, IL 62704


                                                                                          ACCOUNT NO.      1727                                                              Incurred: 8/2010
                                                                                          Urbana Township Road Dist                                                          Consideration: Business Debt
                                                                                          2312 E. Perking Road                                                                                                                                                                     128.83
                                                                                          Urbana, IL 61802


                                                                                          ACCOUNT NO.      0607                                                              Incurred: 2009
                                                                                          US Bank                                                                            Consideration: Commercial Loan
                                                                                          P.O. Box 790401                                                                    for Allied Municipal Supply                                                                        135,142.49
                                                                                          St. Louis, MO 63179


                                                                                           ACCOUNT NO.     4507                                                              Incurred: 2010
                                                                                          US Bank                                                                            Consideration: Commercial Loan
                                                                                          P.O. Box 790401                                                                    Allied Municipal Supply                                                                             73,061.13
                                                                                          St. Louis, MO 63179


                                                                                                     17 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $   215,828.04
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                          CODEBTOR
                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      4545                                                              Incurred: 2010
                                                                                          US Bank                                                                            Consideration: Commerical Loan
                                                                                          P.O. box 790408                                                                    Allied Municipal Supply                                                                              6,044.99
                                                                                          St. Louis, MO 63179


                                                                                          ACCOUNT NO.      8120                                                              Incurred: 8/2003
                                                                                          Us Bank Hogan Loc                                                                  Consideration: Credit card debt
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                                                                                          Po Box 5227                                                                                                                                                                             4,206.00
                                                                                          Cincinnati, OH 45201


                                                                                          ACCOUNT NO.      4790                                                              Incurred: 2009
                                                                                          US Standard Sign Co                                                                Consideration: Business Debt
                                                                                          4360 Solutions Center                                                                                                                                                                  97,800.35
                                                                                          Chicago, IL 60677


                                                                                          ACCOUNT NO.      2395                                                              Incurred: 2009
                                                                                          USF Holland                                                                        Consideration: Business Debt
                                                                                          706 N.E. Arch Street                                                                                                                                                                    1,562.87
                                                                                          Atlanta, IL 60408


                                                                                           ACCOUNT NO.     7791                                                              Incurred: 2010
                                                                                          Vega Molded Products, Inc                                                          Consideration: Business Debt
                                                                                          P.O. Box 246                                                                                                                                                                               18.60
                                                                                          Gilberts, IL 60136


                                                                                                     18 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $   109,632.81
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                          CODEBTOR
                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      3301                                                              Incurred: 7/2010
                                                                                          Village of Birchwood                                                               Consideration: Business Debt
                                                                                          1010 N. Main                                                                                                                                                                             603.01
                                                                                          Birchwood, WI 54817


                                                                                          ACCOUNT NO.      0278                                                              Incurred: 12/2009
                                                                                          Village of Forest Cirty                                                            Consideration: Business Debt
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                                                                                          P.O. Box 5                                                                                                                                                                                78.00
                                                                                          Forest City, IL 61532


                                                                                          ACCOUNT NO.      8302                                                              Incurred: 12/2008
                                                                                          Village of Harristown                                                              Consideration: Business Debt
                                                                                          P.O. Box 200                                                                                                                                                                              33.89
                                                                                          Harristown, IL 62537


                                                                                          ACCOUNT NO.      9642                                                              Incurred: 9/2009
                                                                                          Village of Raymond                                                                 Consideration: Business Debt
                                                                                          P.O. Box 87                                                                                                                                                                              254.48
                                                                                          Raymond, IL 62560


                                                                                           ACCOUNT NO.     9507                                                              Incurred: 8/2009
                                                                                          Washington County Highway                                                          Consideration: Business Debt
                                                                                          1243 W Adams Street                                                                                                                                                                      202.80
                                                                                          Nashville, IL 62263


                                                                                                     19 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $     1,172.18
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 12-70371               Doc 1                      Filed 02/23/12 Entered 02/23/12 16:07:42                                                              Desc Main
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                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                    Ty Beard
                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                       ORCOMMUNITY




                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                          CODEBTOR
                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                      MAILING ADDRESS                                                                                                                                                            AMOUNT
                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                   OF
                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                              CLAIM
                                                                                                   AND ACCOUNT NUMBER
                                                                                                     (See instructions above.)


                                                                                          ACCOUNT NO.      1132                                                              Incurred: 2006
                                                                                          Wellsaw                                                                            Consideration: Business Debt
                                                                                          2829 North Burdick                                                                                                                                                                          61.79
                                                                                          Kalamazoo, MI 49004


                                                                                          ACCOUNT NO.      0503                                                              Incurred: 02/2010
                                                                                          Wheatland Township                                                                 Consideration: Business Debt
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                                                                                          RR! Box 28                                                                                                                                                                                 251.41
                                                                                          St. Elmo, IL 62458


                                                                                          ACCOUNT NO.




                                                                                          ACCOUNT NO.




                                                                                           ACCOUNT NO.




                                                                                                     20 of _____continuation
                                                                                          Sheet no. _____    20               sheets attached                                                                                     Subtotal                                  $        313.20
                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                          Nonpriority Claims                                                                                                                          Total                                 $   1,897,321.97
                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                         Case 12-70371             Doc 1        Filed 02/23/12 Entered 02/23/12 16:07:42                              Desc Main
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                                                                                          In re
                                                                                                  Ty Beard                                                                   Case No.
                                                                                                                    Debtor                                                                              (if known)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                      Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                           State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                           names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                           contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                           guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                  Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                             DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                  NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                               DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                     OF OTHER PARTIES TO LEASE OR CONTRACT.                                  NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                 NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                                       Case 12-70371              Doc 1        Filed 02/23/12 Entered 02/23/12 16:07:42                             Desc Main
                                                                                          B6H (Official Form 6H) (12/07)                        Document     Page 49 of 66



                                                                                          In re   Ty Beard                                                                  Case No.
                                                                                                                   Debtor                                                                              (if known)


                                                                                                                                      SCHEDULE H - CODEBTORS
                                                                                              Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                          debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                          property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                          Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                          name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                          commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                          commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                          parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                          Fed. Bankr. P. 1007(m).
                                                                                              Check this box if debtor has no codebtors.



                                                                                                        NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR
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                                                                                                          Case 12-70371          Doc 1       Filed 02/23/12 Entered 02/23/12 16:07:42                            Desc Main
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                                                                                          In re        Ty Beard
                                                                                                                                                                                      Case
                                                                                                                  Debtor                                                                                 (if known)
                                                                                                                  SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                          The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
                                                                                          filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
                                                                                          calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

                                                                                           Debtor’s Marital                                                   DEPENDENTS OF DEBTOR AND SPOUSE
                                                                                           Status:   Single                RELATIONSHIP(S):       No dependents                                              AGE(S):
                                                                                           Employment:                             DEBTOR                                                                 SPOUSE
                                                                                           Occupation                       Unemployed
                                                                                           Name of Employer
                                                                                           How long employed
                                                                                           Address of Employer                                                                                              N.A.


                                                                                          INCOME: (Estimate of average or projected monthly income at time case filed)                                  DEBTOR                  SPOUSE
                                                                                          1. Monthly gross wages, salary, and commissions
                                                                                                                                                                                                              0.00
                                                                                                                                                                                                     $ _____________                  N.A.
                                                                                                                                                                                                                            $ _____________
                                                                                                (Prorate if not paid monthly.)
                                                                                          2. Estimated monthly overtime                                                                                       0.00
                                                                                                                                                                                                     $ _____________                  N.A.
                                                                                                                                                                                                                            $ _____________

                                                                                          3. SUBTOTAL                                                                                                          0.00
                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                             $ _____________
                                                                                          4. LESS PAYROLL DEDUCTIONS
                                                                                                                                                                                                               0.00
                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                             $ _____________
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                                                                                                  a.   Payroll taxes and social security
                                                                                                                                                                                                               0.00
                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                             $ _____________
                                                                                                  b.   Insurance
                                                                                                  c.   Union Dues                                                                                              0.00
                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                             $ _____________
                                                                                                  d.   Other (Specify:___________________________________________________________)                             0.00
                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                             $ _____________

                                                                                          5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                    0.00
                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                             $ _____________

                                                                                          6.. TOTAL NET MONTHLY TAKE HOME PAY                                                                                  0.00
                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                             $ _____________

                                                                                          7. Regular income from operation of business or profession or farm                                                   0.00
                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                             $ _____________
                                                                                             (Attach detailed statement)
                                                                                          8. Income from real property                                                                                         0.00
                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                             $ _____________
                                                                                          9. Interest and dividends                                                                                            0.00
                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                             $ _____________
                                                                                          10. Alimony, maintenance or support payments payable to the debtor for the
                                                                                             debtor’s use or that of dependents listed above.                                                                  0.00
                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                             $ _____________

                                                                                          11. Social security or other government assistance
                                                                                                                                                                                                               0.00
                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                             $ _____________
                                                                                             ( Specify)
                                                                                          12. Pension or retirement income                                                                                     0.00
                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                             $ _____________
                                                                                          13. Other monthly incomeUnemployment                                                                             1,430.00
                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                             $ _____________
                                                                                              (Specify)                                                                                                        0.00
                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                             $ _____________
                                                                                          14. SUBTOTAL OF LINES 7 THROUGH 13                                                                               1,430.00
                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                             $ _____________
                                                                                          15. AVERAGE MONTHLY INCOME (Add amounts shown on Lines 6 and 14)                                                 1,430.00
                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                             $ _____________

                                                                                          16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals                                                                     1,430.00
                                                                                                                                                                                                                   $ _____________
                                                                                              from line 15)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable,
                                                                                                                                                                                 on Statistical Summary of Certain Liabilities and Related Data)

                                                                                          17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                                                   None
                                                                                                        Case
                                                                                             B6J (Official Form 12-70371
                                                                                                                6J) (12/07)         Doc 1        Filed 02/23/12 Entered 02/23/12 16:07:42                            Desc Main
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                                                                                           In re   Ty Beard                                                                           Case No.
                                                                                                                    Debtor                                                                              (if known)

                                                                                                     SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                       Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case
                                                                                            filed. Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses
                                                                                            calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

                                                                                                   Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
                                                                                                   labeled “Spouse.”


                                                                                          1. Rent or home mortgage payment (include lot rented for mobile home)                                                                           0.00
                                                                                                                                                                                                                               $ _____________
                                                                                                     a. Are real estate taxes included?                 Yes ________ No ________
                                                                                                     b. Is property insurance included?                 Yes ________ No ________
                                                                                          2. Utilities: a. Electricity and heating fuel                                                                                                 130.00
                                                                                                                                                                                                                               $ ______________
                                                                                                         b. Water and sewer                                                                                                               0.00
                                                                                                                                                                                                                               $ ______________
                                                                                                         c. Telephone                                                                                                                    80.00
                                                                                                                                                                                                                               $ ______________
                                                                                                         d. Other ___________________________________________________________________                                                     0.00
                                                                                                                                                                                                                               $ ______________
                                                                                          3. Home maintenance (repairs and upkeep)                                                                                                        0.00
                                                                                                                                                                                                                               $ ______________
                                                                                          4. Food                                                                                                                                       200.00
                                                                                                                                                                                                                               $ ______________
                                                                                          5. Clothing                                                                                                                                    10.00
                                                                                                                                                                                                                               $ ______________
                                                                                          6. Laundry and dry cleaning                                                                                                                    20.00
                                                                                                                                                                                                                               $ ______________
                                                                                          7. Medical and dental expenses                                                                                                                200.00
                                                                                                                                                                                                                               $ ______________
                                                                                          8. Transportation (not including car payments)                                                                                                200.00
                                                                                                                                                                                                                               $ ______________
                                                                                          9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                             0.00
                                                                                                                                                                                                                               $ ______________
                                                                                          10.Charitable contributions                                                                                                                     0.00
                                                                                                                                                                                                                               $ ______________
                                                                                          11.Insurance (not deducted from wages or included in home mortgage payments)
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                                                                                                     a. Homeowner’s or renter’s                                                                                                           0.00
                                                                                                                                                                                                                               $ ______________
                                                                                                     b. Life                                                                                                                            127.10
                                                                                                                                                                                                                               $ ______________
                                                                                                     c. Health                                                                                                                          989.18
                                                                                                                                                                                                                               $ ______________
                                                                                                     d.Auto                                                                                                                             213.09
                                                                                                                                                                                                                               $ ______________
                                                                                                     e. Other                                                                                                                             0.00
                                                                                                                                                                                                                               $ ______________
                                                                                          12.Taxes (not deducted from wages or included in home mortgage payments)
                                                                                          (Specify)                                                                                                                                       0.00
                                                                                                                                                                                                                               $ ______________
                                                                                          13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                                                                                                     a. Auto                                                                                                                              0.00
                                                                                                                                                                                                                               $______________
                                                                                                     b. Other                                                                                                                             0.00
                                                                                                                                                                                                                               $ ______________
                                                                                                     c. Other                                                                                                                             0.00
                                                                                                                                                                                                                               $ ______________
                                                                                          14. Alimony, maintenance, and support paid to others                                                                                            0.00
                                                                                                                                                                                                                               $ ______________
                                                                                          15. Payments for support of additional dependents not living at your home                                                                       0.00
                                                                                                                                                                                                                               $ ______________
                                                                                          16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                0.00
                                                                                                                                                                                                                               $ ______________
                                                                                          17. Other                                                                                                                                       0.00
                                                                                                                                                                                                                               $______________
                                                                                          18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                                    2,169.37
                                                                                                                                                                                                                               $______________
                                                                                          if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
                                                                                          19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
                                                                                                    None


                                                                                          20. STATEMENT OF MONTHLY NET INCOME
                                                                                                  a. Average monthly income from Line 15 of Schedule I                                                                              1,430.00
                                                                                                                                                                                                                             $ ______________
                                                                                                  b. Average monthly expenses from Line 18 above                                                                                    2,169.37
                                                                                                                                                                                                                             $ ______________
                                                                                                  c. Monthly net income (a. minus b.)                                                                                                -739.37
                                                                                                                                                                                                                             $ ______________
                                                                                                             Case
                                                                                                B6 (Official Form 6 -12-70371        Doc
                                                                                                                     Declaration) (12/07)                               1        Filed 02/23/12 Entered 02/23/12 16:07:42                                                                Desc Main
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                                                                                                          Ty Beard
                                                                                                In re                                                                                                                                        Case No.
                                                                                                                                       Debtor                                                                                                                                   (If known)

                                                                                                                                DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                    36 sheets, and that they
                                                                                                           I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______
                                                                                                are true and correct to the best of my knowledge, information, and belief.



                                                                                                 Date       February 23, 2012                                                                                         Signature:          /s/ Ty Beard
                                                                                                                                                                                                                                                                         Debtor


                                                                                                 Date                                                                                                                 Signature:                       Not Applicable
                                                                                                                                                                                                                                                                (Joint Debtor, if any)

                                                                                                                                                                                                                             [If joint case, both spouses must sign.]
                                                                                             -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                         DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                           compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                           110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                           by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                           accepting any fee from the debtor, as required by that section.


                                                                                           Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                           of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)
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                                                                                            If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                            who signs this document.




                                                                                            Address

                                                                                            X
                                                                                                                 Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                          Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                          If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                          A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                          18 U.S.C. § 156.
                                                                                          -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                               DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                          or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                          in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                          shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                          Date                                                                                                                 Signature:


                                                                                                                                                                                                                                [Print or type name of individual signing on behalf of debtor.]
                                                                                                                           [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                           -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                  Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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                                                                                                                              UNITED STATES BANKRUPTCY COURT
                                                                                                                                                 Central District of Illinois

                                                                                                  Ty Beard
                                                                                          In re                                                                 ,         Case No.
                                                                                                                         Debtor                                                             Chapter 7



                                                                                                                   CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                           PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
                                                                                           secured by property of the estate. Attach additional pages if necessary.)


                                                                                             Property No. 1
                                                                                            Creditor's Name:                                                         Describe Property Securing Debt:
                                                                                             Chase Mortgage                                                             5 bedroom, 4 bathroom approx 3600 sq
                                                                                             P.O. Box 24696                                                             ft
                                                                                             Colombus, OH 43224

                                                                                             Property will be (check one):
                                                                                                       Surrendered                                   Retained

                                                                                              If retaining the property, I intend to (check at least one):
                                                                                                       Redeem the property
                                                                                                       Reaffirm the debt
                                                                                                       Other. Explain _______________________________________________(for example, avoid lien
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                                                                                             using 11 U.S.C. §522(f)).

                                                                                             Property is (check one):
                                                                                                        Claimed as exempt                                           Not claimed as exempt



                                                                                             Property No. 2 (if necessary)
                                                                                            Creditor's Name:                                                         Describe Property Securing Debt:
                                                                                             Associated Bank Corp                                                       5 bedroom, 4 bathroom approx 3600 sq
                                                                                             1305 Main Street                                                           ft
                                                                                             Stevens Point, WI 54481

                                                                                             Property will be (check one):
                                                                                                       Surrendered                                   Retained

                                                                                              If retaining the property, I intend to (check at least one):
                                                                                                       Redeem the property
                                                                                                       Reaffirm the debt
                                                                                                       Other. Explain _______________________________________________(for example, avoid lien
                                                                                             using 11 U.S.C. §522(f)).

                                                                                             Property is (check one):
                                                                                                        Claimed as exempt                                           Not claimed as exempt
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                                                                                              PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
                                                                                              Each unexpired lease. Attach additional pages if necessary.)


                                                                                                Property No. 1           NO Leased Property
                                                                                               Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                   to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                      YES              NO


                                                                                                Property No. 2 (if necessary)
                                                                                               Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                   to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                      YES              NO


                                                                                                Property No. 3 (if necessary)
                                                                                               Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                   to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                      YES              NO

                                                                                                1
                                                                                               ______ continuation sheets attached (if any)

                                                                                              I declare under penalty of perjury that the above indicates my intention as to any property of my
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                                                                                              Estate securing debt and/or personal property subject to an unexpired lease.




                                                                                                    February 23, 2012
                                                                                              Date:_____________________________                          /s/ Ty Beard
                                                                                                                                                       Signature of Debtor




                                                                                                                                                       Signature of Joint Debtor
                                                                                                            Case 12-70371             Doc 1        Filed 02/23/12 Entered 02/23/12 16:07:42                    Desc Main
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                                                                                                                       CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                                                                          (Continuation Sheet)
                                                                                             PART A - Continuation




                                                                                               Property No: 3

                                                                                               Creditor's Name:                                                           Describe Property Securing Debt:
                                                                                                US Bank                                                                   2008 Artic Cat F1000
                                                                                                P.O. Box 5227
                                                                                                Cincinnati, OH 45201
                                                                                                    Property will be (check one):
                                                                                                            Surrendered                                      Retained
                                                                                                    If retaining the property, I intend to (check at least one):
                                                                                                            Redeem the property
                                                                                                            Reaffirm the debt
                                                                                                            Other. Explain                                                                               (for example, avoid lien
                                                                                                    using 11 U.S.C.§522(f)).

                                                                                                    Property is (check one):
                                                                                                           Claimed as exempt                                            Not claimed as exempt
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                                                                                          12/94
                                                                                                                                   United States Bankruptcy Court
                                                                                                                                                       Central District of Illinois
                                                                                                  In re Ty Beard                                                                        Case No. ____________________
                                                                                                                                                                                        Chapter           7
                                                                                                                                                                                                     ____________________
                                                                                                  Debtor(s)
                                                                                                                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                                          1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                                  and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                                  rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                                                                                                                684.00
                                                                                                  For legal services, I have agreed to accept .............................……………………….... $ ______________

                                                                                                                                                                                                    684.00
                                                                                                  Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                                                                                                                 0.00
                                                                                                  Balance Due ......................................……………………………………….................... $ ______________

                                                                                          2.      The source of compensation paid to me was:

                                                                                                                   Debtor                  Other (specify)
                                                                                          3.      The source of compensation to be paid to me is:
                                                                                                                   Debtor                  Other (specify)

                                                                                          4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                                                                                          associates of my law firm.

                                                                                                     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
                                                                                          of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.
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                                                                                          5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                                                                                                   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                                   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                                                                                                   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




                                                                                           6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                                                                                           Filing Fee
                                                                                           Credit Report
                                                                                           Credit Counseling Course
                                                                                           Debtors Education Course



                                                                                                                                                                  CERTIFICATION

                                                                                                          I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                                       debtor(s) in the bankruptcy proceeding.


                                                                                                          February 23, 2012
                                                                                                       ____________________________________                                /s/ Kevin Linder
                                                                                                                                                                         __________________________________________________
                                                                                                                      Date                                                                Signature of Attorney

                                                                                                                                                                           Linder Law Office
                                                                                                                                                                         __________________________________________________
                                                                                                                                                                                          Name of law firm
                                                                                                      Case 12-70371              Doc 1
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                                                                                                                                                           According to the information required to be entered on this statement
                                                                                                                                                           (check one box as directed in Part I, III, or VI of this statement):
                                                                                           In re Ty Beard                                                                The presumption arises.
                                                                                                                    Debtor(s)                                            The presumption does not arise.
                                                                                                                                                                         The presumption is temporarily inapplicable.
                                                                                           Case Number:
                                                                                                                    (If known)

                                                                                                                    CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                                               AND MEANS-TEST CALCULATION
                                                                                          In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions
                                                                                          in Part I applies, joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should
                                                                                          complete separate statements if they believe this is required by §707(b)(2)(C).

                                                                                                                                Part I. MILITARY AND NON-CONSUMER DEBTORS
                                                                                                  Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the
                                                                                                  beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
                                                                                                  complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                                          1A
                                                                                                      Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled
                                                                                                  veteran (as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on
                                                                                                  active duty (as defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32
                                                                                                  U.S.C. §901(1)).

                                                                                                  Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the
                                                                                                  verification in Part VIII. Do not complete any of the remaining parts of this statement.
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                                                                                          1B
                                                                                                      Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

                                                                                                  Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
                                                                                                  of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C.
                                                                                                  § 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity
                                                                                                  (as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the
                                                                                                  time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for
                                                                                                  this temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
                                                                                                  Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
                                                                                                  top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required
                                                                                                  to complete the balance of this form, but you must complete the form no later than 14 days after the date on which
                                                                                                  your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your
                                                                                                  case before your exclusion period ends.

                                                                                                      Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
                                                                                          1C      below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
                                                                                                  component of the Armed Forces or the National Guard

                                                                                                                   a.        I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                                                                                                     I remain on active duty /or/
                                                                                                                                     I was released from active duty on ________________, which is less than 540 days before
                                                                                                                   this bankruptcy case was filed;
                                                                                                                            OR

                                                                                                                   b.      I am performing homeland defense activity for a period of at least 90 days /or/
                                                                                                                           I performed homeland defense activity for a period of at least 90 days, terminating on
                                                                                                                   _______________, which is less than 540 days before this bankruptcy case was filed.
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                                                                                                           Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION

                                                                                                Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                                                a.   Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 3-11.
                                                                                                b.   Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                                                                                                     penalty of perjury: “My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
                                                                                                     are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.”
                                                                                                     Complete only Column A (“Debtor’s Income”) for Lines 3-11.
                                                                                          2     c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
                                                                                                     Column A (“Debtor’s Income”) and Column B (Spouse’s Income) for Lines 3-11.
                                                                                                d.   Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B ("Spouse’s Income")
                                                                                                     for Lines 3-11.

                                                                                                 All figures must reflect average monthly income received from all sources, derived during
                                                                                                 the six calendar months prior to filing the bankruptcy case, ending on the last day of the          Column A       Column B
                                                                                                 month before the filing. If the amount of monthly income varied during the six months, you          Debtor’s       Spouse’s
                                                                                                 must divide the six-month total by six, and enter the result on the appropriate line.                Income         Income
                                                                                           3     Gross wages, salary, tips, bonuses, overtime, commissions.                                      $      N.A. $         N.A.
                                                                                                 Income from the operation of a business, profession or farm. Subtract Line b from Line a
                                                                                                 and enter the difference in the appropriate column(s) of Line 4. If you operate more than one
                                                                                                 business, profession or farm, enter aggregate numbers and provide details on an attachment.
                                                                                                 Do not enter a number less than zero. Do not include any part of the business expenses
                                                                                                 entered on Line b as a deduction in Part V.
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                                                                                           4
                                                                                                    a.      Gross receipts                                     $                      N.A.
                                                                                                    b.      Ordinary and necessary business expenses           $                      N.A.
                                                                                                    c.      Business income                                    Subtract Line b from Line a       $      N.A. $         N.A.
                                                                                                Rent and other real property income. Subtract Line b from Line a and enter the difference
                                                                                                in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include
                                                                                                any part of the operating expenses entered on Line b as a deduction in Part V.
                                                                                           5        a.      Gross receipts                                     $                      N.A.
                                                                                                    b.      Ordinary and necessary operating expenses          $                      N.A.
                                                                                                    c.      Rent and other real property income                Subtract Line b from Line a       $              $
                                                                                                                                                                                                        N.A.           N.A.
                                                                                           6    Interest, dividends and royalties.                                                               $              $
                                                                                                                                                                                                        N.A.           N.A.
                                                                                                Pension and retirement income.                                                                   $              $
                                                                                           7                                                                                                            N.A.           N.A.
                                                                                                Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                                expenses of the debtor or the debtor’s dependents, including child support paid for that
                                                                                           8    purpose. Do not include alimony or separate maintenance payments or amounts paid by
                                                                                                your spouse if Column B is completed. Each regular payment should be reported in only one
                                                                                                column; If a payment is listged in Column A, do not report that payment in Column B.             $      N.A. $         N.A.
                                                                                                Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
                                                                                                However, if you contend that unemployment compensation received by you or your spouse
                                                                                                was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                                          9
                                                                                                Column A or B, but instead state the amount in the space below:
                                                                                                 Unemployment compensation claimed to be
                                                                                                 a benefit under the Social Security Act         Debtor $ N.A.           Spouse $ N.A.           $      N.A. $         N.A.
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                                                                                                Income from all other sources. Specify source and amount. If necessary, list additional
                                                                                                sources on a separate page. Do not include alimony or separate maintenance payments
                                                                                                paid by your spouse if Column B is completed, but include all other payments of
                                                                                                alimony or separate maintenance. Do not include any benefits received under the Social
                                                                                          10    Security Act or payments received as a victim of a war crime, crime against humanity, or as a
                                                                                                victim of international or domestic terrorism.
                                                                                                   a.                                                                       $         N.A.
                                                                                                  b.                                                                     $          N.A.
                                                                                                   Total and enter on Line 10                                                                      $      N.A. $        N.A.
                                                                                                Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
                                                                                          11    and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).             $      N.A. $        N.A.
                                                                                                Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
                                                                                          12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
                                                                                                completed, enter the amount from Line 11, Column A.                                                                     N.A.
                                                                                                                                                                                                    $
                                                                                                                              Part III. APPLICATION OF § 707(b)(7) EXCLUSION

                                                                                          13     Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
                                                                                                 12 and enter the result.
                                                                                                                                                                                                                  $     N.A.
                                                                                                 Applicable median family income. Enter the median family income for the applicable state and household
                                                                                          14     size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the
                                                                                                 bankruptcy court.)

                                                                                                                                        Illinois
                                                                                                 a. Enter debtor’s state of residence: _______________                                       1
                                                                                                                                                       b. Enter debtor’s household size: __________               $ 45,545.00
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                                                                                                 Application of Section 707(b)(7). Check the applicable box and proceed as directed.

                                                                                          15           The amount on Line 13 is less than or equal to the amount on Line 14. Check the “The presumption does not
                                                                                                       arise” box at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                                                                                                       The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.


                                                                                                            Complete Parts IV, V, VI and VII of this statement only if required. (See Line 15).

                                                                                                            Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)

                                                                                          16     Enter the amount from Line 12.                                                                                   $     N.A.
                                                                                                 Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
                                                                                                 Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
                                                                                                 debtor's dependents. Specify in the lines below the basis for excluding the Column B income (such as
                                                                                                 payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's
                                                                                                 dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on
                                                                                                 a separate page. If you did not check box at Line 2.c, enter zero.
                                                                                          17

                                                                                                  a.                                                                         $
                                                                                                  b.                                                                         $
                                                                                                  c.                                                                         $

                                                                                                Total and enter on Line 17.                                                                                       $     N.A.
                                                                                          18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                       $     N.A.
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                                                                                                                        Part V. CALCULATION OF DEDUCTIONS FROM INCOME

                                                                                                                Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

                                                                                                 National Standards: food, clothing and other items. Enter in Line 19A the “Total” amount from IRS
                                                                                                 National Standards for Food, Clothing and Other Items for the applicable number of persons. (This
                                                                                          19A    information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
                                                                                                 number of person is the number that would currently be allowed as exemptions on your federal income tax
                                                                                                 return, plus the number of any additional dependents whom you support.                                            $   N.A.
                                                                                                 National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-
                                                                                                 of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
                                                                                                 Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
                                                                                                 www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
                                                                                                 persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
                                                                                                 years of age or older. (The applicable number of persons in each age category is the number in that category
                                                                                                 that would currently be allowed as exemptions on your federal income tax return, plus the number of any
                                                                                          19B    additional dependents whom you support.) Multiply line a1 by Line b1 to obtain a total amount for persons
                                                                                                 under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons
                                                                                                 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and
                                                                                                 enter the result in Line 19B.

                                                                                                  Persons under 65 years of age                       Persons 65 years of age or older
                                                                                                   a1.      Allowance per person              N.A.     a2.    Allowance per person                N.A.
                                                                                                   b1.      Number of persons                   N.A. b2.      Number of persons
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                                                                                                   c1.      Subtotal                                                                                               $
                                                                                                                                              N.A.   c2.      Subtotal                            N.A.
                                                                                                                                                                                                                       N.A.
                                                                                                Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
                                                                                              Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
                                                                                          20A available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable family size
                                                                                              consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
                                                                                              the number of any additional dependents whom you support.                                                            $   N.A.
                                                                                                 Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
                                                                                                 Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
                                                                                                 information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable
                                                                                                 family size consists of the number that would currently be allowed as exemptions on your federal income
                                                                                                 tax return, plus the number of any additional dependents whom you support); enter on Line b the total of the
                                                                                          20B    Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b from
                                                                                                 Line a and enter the result in Line 20B. Do not enter an amount less than zero.


                                                                                                  a.     IRS Housing and Utilities Standards; mortgage/rental expense      $                         N.A.
                                                                                                  b.     Average Monthly Payment for any debts secured by your
                                                                                                         home, if any, as stated in Line 42                                 $                        N.A.
                                                                                                  c.     Net mortgage/rental expense                                       Subtract Line b from Line a             $   N.A.

                                                                                                 Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
                                                                                                 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
                                                                                                 Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
                                                                                                 your contention in the space below:
                                                                                          21

                                                                                                                                                                                                                       N.A.
                                                                                                                                                                                                                   $
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                                                                                                Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
                                                                                                an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
                                                                                                regardless of whether you use public transportation.
                                                                                                Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
                                                                                                are included as a contribution to your household expenses in Line 8.
                                                                                          22A          0    1    2 or more.
                                                                                                If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
                                                                                                Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS
                                                                                                Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
                                                                                                Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
                                                                                                the bankruptcy court.)                                                                                          $   N.A.

                                                                                              Local Standards: transportation; additional public transportation expense. If you pay the operating
                                                                                              expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
                                                                                          22B additional deduction for your public transportation expenses, enter on Line 22B the "Public Transportation"
                                                                                              amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
                                                                                              the clerk of the bankruptcy court.)                                                                               $   N.A.

                                                                                              Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                                              which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
                                                                                              two vehicles.)
                                                                                                  1         2 or more.
                                                                                              Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
                                                                                              (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                              Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
                                                                                           23 Line a and enter the result in Line 23. Do not enter an amount less than zero.
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                                                                                                  a.       IRS Transportation Standards, Ownership Costs                      $                       N.A.
                                                                                                           Average Monthly Payment for any debts secured by Vehicle 1,        $
                                                                                                  b.       as stated in Line 42                                                                       N.A.
                                                                                                  c.       Net ownership/lease expense for Vehicle 1                          Subtract Line b from Line a.      $   N.A.
                                                                                                Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line
                                                                                                only if you checked the “2 or more” Box in Line 23.
                                                                                                Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
                                                                                                (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                                Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
                                                                                                Line a and enter the result in Line 24. Do not enter an amount less than zero.
                                                                                          24      a.     IRS Transportation Standards, Ownership Costs                      $                       N.A.
                                                                                                           Average Monthly Payment for any debts secured by Vehicle 2,        $
                                                                                                 b.        as stated in Line 42                                                                      N.A.
                                                                                                 c.        Net ownership/lease expense for Vehicle 2                         Subtract Line b from Line a.       $   N.A.
                                                                                                Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
                                                                                          25    federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment
                                                                                                taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                    $   N.A.
                                                                                                Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
                                                                                           26   payroll deductions that are required for your employment, such as retirement contributions, union dues, and     $
                                                                                                uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                        N.A.
                                                                                                Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
                                                                                          27    term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole
                                                                                                life or for any other form of insurance.                                                                    $       N.A.
                                                                                                Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
                                                                                                required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
                                                                                           28                                                                                                               $
                                                                                                payments. Do not include payments on past due obligations included in Line 44.                                      N.A.
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                                                                                                Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
                                                                                          29    Enter the total average monthly amount that you actually expend for education that is a condition of
                                                                                                employment and for education that is required for a physically or mentally challenged dependent child for
                                                                                                whom no public education providing similar services is available.
                                                                                                                                                                                                                          $        N.A.
                                                                                                Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually
                                                                                          30    expend on childcare—such as baby-sitting, day care, nursery and preschool. Do not include other                           $
                                                                                                educational payments.                                                                                                              N.A.
                                                                                                Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
                                                                                          31    on health care that is required for the health and welfare of yourself or your dependents, that is not
                                                                                                reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
                                                                                                Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34.                      $
                                                                                                                                                                                                                                   N.A.
                                                                                                Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
                                                                                                actually pay for telecommunication services other than your basic home telephone and cell phone service—
                                                                                          32    such as pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for
                                                                                                your health and welfare or that of your dependents. Do not include any amount previously deducted.                        $        N.A.
                                                                                          33      Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32                                      $        N.A.

                                                                                                                                  Subpart B: Additional Living Expense Deductions
                                                                                                                         Note: Do not include any expenses that you have listed in Lines 19-32.

                                                                                                Health Insurance, Disability Insurance and Health Savings Account Expenses. List the monthly
                                                                                                expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse,
                                                                                                or your dependents.
                                                                                                    a.     Health Insurance                                                    $                     N.A.
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                                                                                                    b.      Disability Insurance                                                    $                       N.A.
                                                                                                    c.      Health Savings Account                                                  $                       N.A.
                                                                                          34
                                                                                                Total and enter on Line 34.                                                                                                $       N.A.
                                                                                                If you do not actually expend this total amount, state your actual average expenditures in the space
                                                                                                below:
                                                                                                    $         N.A.
                                                                                                Continued contributions to the care of household or family members. Enter the total average actual
                                                                                          35    monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
                                                                                                elderly, chronically ill, or disabled member of your household or member of your immediate family who is
                                                                                                unable to pay for such expenses.
                                                                                                                                                                                                                          $        N.A.
                                                                                                Protection against family violence. Enter the total average reasonably necessary monthly expenses that
                                                                                                you actually incurred to maintain the safety of your family under the Family Violence Prevention and
                                                                                          36    Services Act or other applicable federal law. The nature of these expenses is required to be kept
                                                                                                confidential by the court.
                                                                                                                                                                                                                          $        N.A.
                                                                                                Home energy costs Enter the total average monthly amount, in excess of the allowance specified by IRS
                                                                                          37    Local Standards for Housing and Utilities that you actually expend for home energy costs. You must
                                                                                                provide your case trustee with documentation of your actual expenses, and you must demonstrate that
                                                                                                                                                                                                                          $        N.A.
                                                                                                the additional amount claimed is reasonable and necessary.
                                                                                                Education expenses for dependent children less than 18. Enter the total average monthly
                                                                                                expenses that you actually incur, not to exceed $147.92* per child, for attendance at a private or public
                                                                                          38    elementary or secondary school by your dependent children less than 18 years of age. You must provide
                                                                                                your case trustee with documentation of your actual expenses and you must explain why the amount                          $
                                                                                                claimed is reasonable and necessary and not already accounted for in the IRS Standards.                                            N.A.
                                                                                          *Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                Additional food and clothing expense. Enter the total average monthly amount by which your food and
                                                                                                clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
                                                                                          39    National Standards, not to exceed 5% of those combined allowances. (This information is available at
                                                                                                www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the
                                                                                                additional amount claimed is reasonable and necessary.                                                          $   N.A.
                                                                                                Continued charitable contributions. Enter the amount that you will continue to contribute in the form
                                                                                          40
                                                                                                of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170 (c)(1)-(2)          $   N.A.
                                                                                          41    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.
                                                                                                                                                                                                                $   N.A.
                                                                                                                                   Subpart C: Deductions for Debt Payment

                                                                                                Future payments on secured claims. For each of your debts that is secured by an interest in property that
                                                                                                you own, list the name of creditor, identify the property securing the debt, state the Average Monthly
                                                                                                Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
                                                                                                total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
                                                                                                filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
                                                                                                the total Average Monthly payments on Line 42.

                                                                                          42                                                                                   Average
                                                                                                            Name of                       Property Securing the Debt                          Does payment
                                                                                                                                                                               Monthly
                                                                                                            Creditor                                                                         include taxes or
                                                                                                                                                                               Payment
                                                                                                                                                                                                insurance?
                                                                                                 a.                                                                        $                       yes no
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                                                                                                 b.                                                                        $                      yes     no
                                                                                                 c.                                                                         $                     yes     no
                                                                                                                                                                          Total: Add Lines
                                                                                                                                                                          a, b and c                            $   N.A.
                                                                                                Other payments on secured claims. If any of the debts listed in Line 42 are secured by your primary
                                                                                                residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
                                                                                                you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor
                                                                                                in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
                                                                                                amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
                                                                                                List and total any such amounts in the following chart. If necessary, list additional entries on a separate
                                                                                                page.
                                                                                          43                Name of                          Property Securing the Debt        1/60th of the Cure Amount
                                                                                                            Creditor
                                                                                                 a.                                                                            $
                                                                                                 b.                                                                            $
                                                                                                 c.                                                                            $
                                                                                                                                                                                                                $   N.A.

                                                                                               Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
                                                                                          44   as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
                                                                                               filing. Do not include current obligations, such as those set out in Line 28.                                $
                                                                                                                                                                                                                    N.A.
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                                                                                                 Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the
                                                                                                 following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
                                                                                                 expense.
                                                                                                  a.        Projected average monthly Chapter 13 plan payment.                             $             N.A.
                                                                                                            Current multiplier for your district as determined under schedules issued
                                                                                                  b.        by the Executive Office for United States Trustees. (This information is
                                                                                           45
                                                                                                            available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy            x              N.A.
                                                                                                            court.)
                                                                                                  c.        Average monthly administrative expense of Chapter 13 case                      Total: Multiply Lines
                                                                                                                                                                                           a and b                      $          N.A.
                                                                                          46     Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                             $          N.A.
                                                                                                                                      Subpart D: Total Deductions from Income
                                                                                          47 Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                $          N.A.
                                                                                                                        Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
                                                                                          48 Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                     $          N.A.
                                                                                          49 Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                          $          N.A.
                                                                                          50 Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                           $          N.A.
                                                                                             60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
                                                                                          51 enter the result.
                                                                                                                                                                                                                        $          N.A.
                                                                                                Initial presumption determination. Check the applicable box and proceed as directed.
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                                                                                                    The amount on Line 51 is less than $7,075*. Check the box for “The presumption does not arise” at the top of page 1
                                                                                                    of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
                                                                                          52        The amount set forth on Line 51 is more than $11,725*. Check the “Presumption arises” box at the top of
                                                                                                    page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete
                                                                                                    the remainder of Part VI.
                                                                                                    The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of Part VI (Lines
                                                                                                    53 through 55).
                                                                                          53    Enter the amount of your total non-priority unsecured debt                                                              $           N.A.
                                                                                           54 Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result. $                  N.A.
                                                                                              Secondary presumption determination. Check the applicable box and proceed as directed.
                                                                                                 The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at the
                                                                                                 top of page 1 of this statement, and complete the verification in Part VIII.
                                                                                           55    The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption
                                                                                                 arises” at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part
                                                                                                 VII.

                                                                                                                                  Part VII: ADDITIONAL EXPENSE CLAIMS
                                                                                                Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
                                                                                                and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
                                                                                                under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
                                                                                                monthly expense for each item. Total the expenses.
                                                                                                                                    Expense Description                                                    Monthly Amount
                                                                                           56          a.                                                                                            $                      N.A.
                                                                                                       b.                                                                                            $                      N.A.
                                                                                                       c.                                                                                            $                      N.A.
                                                                                                                                                       Total: Add Lines a, b and c                                          N.A.
                                                                                          *Amounts are subject to adjustment on 4/1/2013, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                                                            Part VIII: VERIFICATION
                                                                                                I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                                both debtors must sign.)
                                                                                                     Date: February 23, 2012                     Signature:          /s/ Ty Beard
                                                                                                                                                                        (Debtor)
                                                                                          57
                                                                                                     Date:                                       Signature:
                                                                                                                                                                      (Joint Debtor, if any)
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                                                                                                                                       Form 22 Continuation Sheet
                                                                                          Income Month 1                                                Income Month 2


                                                                                          Gross wages, salary, tips...                  0.00     0.00   Gross wages, salary, tips...           0.00     0.00
                                                                                          Income from business...                       0.00     0.00   Income from business...                0.00     0.00
                                                                                          Rents and real property income...             0.00     0.00   Rents and real property income...      0.00     0.00
                                                                                          Interest, dividends...                        0.00     0.00   Interest, dividends...                 0.00     0.00
                                                                                          Pension, retirement...                        0.00     0.00   Pension, retirement...                 0.00     0.00
                                                                                          Contributions to HH Exp...                    0.00     0.00   Contributions to HH Exp...             0.00     0.00
                                                                                          Unemployment...                               0.00     0.00   Unemployment...                        0.00     0.00
                                                                                          Other Income...                               0.00     0.00   Other Income...                        0.00     0.00


                                                                                          Income Month 3                                                Income Month 4


                                                                                          Gross wages, salary, tips...                  0.00     0.00   Gross wages, salary, tips...           0.00     0.00
                                                                                          Income from business...                       0.00     0.00   Income from business...                0.00     0.00
                                                                                          Rents and real property income...             0.00     0.00   Rents and real property income...      0.00     0.00
                                                                                          Interest, dividends...                        0.00     0.00   Interest, dividends...                 0.00     0.00
                                                                                          Pension, retirement...                        0.00     0.00   Pension, retirement...                 0.00     0.00
                                                                                          Contributions to HH Exp...                    0.00     0.00   Contributions to HH Exp...             0.00     0.00
                                                                                          Unemployment...                               0.00     0.00   Unemployment...                        0.00     0.00
                                                                                          Other Income...                               0.00     0.00   Other Income...                        0.00     0.00


                                                                                          Income Month 5                                                Income Month 6
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                                                                                          Gross wages, salary, tips...                  0.00     0.00   Gross wages, salary, tips...           0.00     0.00
                                                                                          Income from business...                       0.00     0.00   Income from business...                0.00     0.00
                                                                                          Rents and real property income...             0.00     0.00   Rents and real property income...      0.00     0.00
                                                                                          Interest, dividends...                        0.00     0.00   Interest, dividends...                 0.00     0.00
                                                                                          Pension, retirement...                        0.00     0.00   Pension, retirement...                 0.00     0.00
                                                                                          Contributions to HH Exp...                    0.00     0.00   Contributions to HH Exp...             0.00     0.00
                                                                                          Unemployment...                               0.00     0.00   Unemployment...                        0.00     0.00
                                                                                          Other Income...                               0.00     0.00   Other Income...                        0.00     0.00



                                                                                                                                  Additional Items as Designated, if any




                                                                                                                                                Remarks
